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                                                         GAME STOPPED? WHO WINS AND
                                                          LOSES WHEN SHORT SELLERS,
                                                           SOCIAL MEDIA, AND RETAIL
                                                          INVESTORS COLLIDE, PART III


                                                            VIRTUAL HEARING
                                                                                 BEFORE THE


                                           COMMITTEE ON FINANCIAL SERVICES
                                            U.S. HOUSE OF REPRESENTATIVES
                                                        ONE HUNDRED SEVENTEENTH CONGRESS
                                                                               FIRST SESSION



                                                                                 MAY 6, 2021



                                                    Printed for the use of the Committee on Financial Services


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                                                                      CHARLA OUERTATANI, Staff Director




                                                                                          (II)




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                                                        GAME STOPPED? WHO WINS AND
                                                         LOSES WHEN SHORT SELLERS,
                                                          SOCIAL MEDIA, AND RETAIL
                                                         INVESTORS COLLIDE, PART III

                                                                        Thursday, May 6, 2021

                                                         U.S. HOUSE OF REPRESENTATIVES,
                                                           COMMITTEE ON FINANCIAL SERVICES,
                                                                                       Washington, D.C.
                                        The committee met, pursuant to notice, at 12 p.m., via Webex,
                                      Hon. Maxine Waters [chairwoman of the committee] presiding.
                                        Members present: Representatives Waters, Maloney, Sherman,
                                      Meeks, Scott, Green, Cleaver, Perlmutter, Himes, Foster, Vargas,
                                      Gottheimer, Lawson, Axne, Casten, Torres, Adams, Tlaib, Dean,
                                      Garcia of Illinois, Williams of Georgia, Auchincloss; McHenry,
                                      Lucas, Posey, Luetkemeyer, Huizenga, Wagner, Barr, Williams of
                                      Texas, Hill, Zeldin, Loudermilk, Mooney, Davidson, Budd, Kustoff,
                                      Hollingsworth, Gonzalez of Ohio, Rose, Steil, Timmons, and Taylor.
                                        Chairwoman WATERS. The Financial Services Committee will
                                      come to order.
                                        Without objection, the Chair is authorized to declare a recess of
                                      the committee at any time.
                                        As a reminder, I ask all Members to keep themselves muted
                                      when they are not being recognized by the Chair. The staff has
                                      been instructed not to mute Members except when a Member is not
                                      being recognized by the Chair and there is inadvertent background
                                      noise.
                                        Members are also reminded that they may only participate in
                                      one remote proceeding at a time. If you are participating today,
                                      please keep your camera on, and if you choose to attend a different
                                      remote proceeding, please turn your camera off.
                                        Today’s hearing is entitled, ‘‘Game Stopped? Who Wins and Loses
                                      When Short Sellers, Social Media, and Retail Investors Collide,
                                      Part III.’’
                                        I now recognize myself for 4 minutes to give an opening state-
                                      ment.
                                        Today, this committee convenes for part three of our series of
                                      hearings focused on market volatility related to GameStop and
                                      other stocks. In our first hearing on those events, we received testi-
                                      mony from the CEOs of trading app, Robinhood; Wall Street firms,
                                      Citadel and Melvin Capital; and social media company, Reddit; as
                                      well as Keith Gill, a trader involved in WallStreetsBets on
                                      subreddit. We heard directly from those involved in the short
                                      squeeze and volatility and we got the facts.
                                                                                          (1)




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                                         In our second hearing, we received testimony from a number of
                                      capital markets experts and investor advocates to hear their views
                                      and begin to assess possible legislative and regulatory steps that
                                      may be necessary. We examined conflicts of interest in the market.
                                      We scrutinized payment for order flow, potential systemic risks to
                                      our financial system, the gamification of trading, the clearance and
                                      settlement process for trades, and the evolution of trading with the
                                      rising use of social media and new technologies.
                                         Today, we will focus on the regulatory response to the market
                                      volatility. Specifically, we will hear testimony from the U.S. Securi-
                                      ties and Exchange Commission (SEC), the Financial Industry Reg-
                                      ulatory Authority (FINRA), and the Deposit Trust and Clearing
                                      Corporation (DTCC) about their responses to events we are exam-
                                      ining. It is critical for our cops on the block at the SEC to protect
                                      investors and ensure that our markets are transparent and fair.
                                      Unfortunately, the previous Administration’s appointees to finan-
                                      cial regulatory agencies were often more interested in helping out
                                      Wall Street than protecting Main Street.
                                         I am very pleased that, thanks to President Biden’s strong lead-
                                      ership, we now have Gary Gensler at the helm of the SEC. Chair
                                      Gensler, I look forward to hearing your testimony and discussing
                                      your views on the short squeeze and surrounding events, as well
                                      as practices like payment for order flow.
                                         I am also interested in hearing from Mr. Cook and Mr. Bodson,
                                      the CEOs of private-sector corporation, FINRA, which oversees
                                      broker-dealers; and DTCC, which provides clearing and settlement
                                      services to our securities markets, respectively.
                                         Under my leadership, this committee is focused on ensuring ac-
                                      countability for Wall Street. I decided to convene this series of
                                      three hearings on this topic to ensure that Congress is well-in-
                                      formed on developments in and functioning of our capital markets,
                                      and to put Wall Street on notice that we are watching closely.
                                         I yield back the balance of my time, and I now recognize the
                                      ranking member of the committee, the gentleman from North Caro-
                                      lina, Mr. McHenry, for 4 minutes.
                                         Mr. MCHENRY. Thank you, Madam Chairwoman. I would like to
                                      talk about what was learned at our last hearing on GameStop, We
                                      learned that everyday Americans have a newfound interest in the
                                      markets, and that is positive. We learned that financial technology
                                      is here to stay, and it is providing more opportunities for retail in-
                                      vestors to participate in our markets. That is positive. We learned
                                      that Reddit is powerful. And we learned that Roaring Kitty is in-
                                      deed not a cat, and we know just as much as we did at the first
                                      hearing.
                                         And I continue to hear the same policy solutions from my Demo-
                                      crat colleagues, the repackaged, old, outdated, policy failures
                                      wrapped in whatever is in the news this week to sell the American
                                      people on the idea that this time is different. Well, it is not. Like
                                      so many other bad progressive ideas sold under the guise of inves-
                                      tor protection, which I think is important, Democrats’ proposals
                                      will ultimately reduce access to investment opportunities and
                                      charge D.C. bureaucrats and give them control of investing deci-
                                      sions of everyday Americans. If this committee is interested in re-




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                                      sponding to late January’s events, we need to expand the credit in-
                                      vestor regime, not restrict it.
                                         It is ridiculous that our securities laws force most everyday
                                      Americans to the sidelines of early-growth investment opportuni-
                                      ties. We need to find innovative solutions that allow more people
                                      to invest in businesses they support, while retaining the flexibility
                                      our changing workforce needs and requires.
                                         This week I reintroduced my bill, the Gig Worker Equity Com-
                                      pensation Act, to expand the category of workers that can benefit
                                      from equity compensation to include nontraditional workers. If you
                                      want to see the juxtaposition of Democrat and Republican priorities
                                      right now, just yesterday, the Biden Administration moved to dis-
                                      mantle past efforts to provide gig workers with the flexibility they
                                      demand, that they need, that they require. If a State as liberal as
                                      California can recognize that a one-size-fits-all mandate on gig
                                      workers would be destructive, it should be obvious that the Biden
                                      Administration should not take those same actions that went down
                                      at the ballot box in California, actions that hurt nontraditional
                                      workers, not help them.
                                         I initially called for this hearing on GameStop to begin the proc-
                                      ess of fact finding to inform our policy discussions, and the bottom
                                      line is that we are still gathering a number of facts. That is why
                                      we have representatives from FINRA and DTCC testifying before
                                      us today. I think that is a good thing.
                                         Additionally, the SEC’s review of the events is ongoing, as is the
                                      committee’s work behind-the-scenes in terms of document review
                                      and interviews. Despite the ongoing investigations and the testi-
                                      mony we will receive today, many Democrats have their so-called
                                      solutions. A lot of these things have been kicked around for a long
                                      time.
                                         At our first GameStop hearing, I asked Democrats to side with
                                      everyday American investors. I will ask that same thing today. We
                                      should not punish everyday American investors with a Democrat
                                      agenda, a progressive agenda that results in fewer investment op-
                                      tions or forces folks to start paying to make trades again. So, let’s
                                      go off of what we have learned. Let’s stand up for everyday inves-
                                      tors and make it easier for them to invest, and let’s tear down bar-
                                      riers keeping folks out of the market instead of throwing up new
                                      ones to impair their ability to be in the market. Let’s stand up for
                                      equity—true equity—and that is ownership of the American econ-
                                      omy, and ownership in our capital markets so we can remain the
                                      center of the free world’s economic policies.
                                         And with that, Madam Chairwoman, I yield back.
                                         Chairwoman WATERS. Thank you very much, Mr. McHenry. I am
                                      pleased that you see something good about our hearing today.
                                         I now recognize the gentleman from California, Mr. Sherman,
                                      who is also the Chair of our Subcommittee on Investor Protection,
                                      Entrepreneurship, and Capital Markets, for 1 minute.
                                         Mr. SHERMAN. I thank Chairman Gensler for being here, and I
                                      hope he joins us often. The ranking member is concerned about
                                      whether gig workers in my State have the protection that we ac-
                                      cord employees. It is a little far from the mandate of our com-
                                      mittee. But within our committee’s jurisdiction is to make sure that
                                      when investors trade stocks, they get the best possible deal and are




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                                      not told that there is zero transaction cost when the big transaction
                                      cost is the spread, and you are paying for the transaction unless
                                      you are getting the best possible price improvement. Price improve-
                                      ment may not be fully available if your broker is getting paid for
                                      order flow or if your broker is acting as a market-maker.
                                        We also need to look at short-sale disclosures. Right now, there
                                      are disclosures filed with the SEC quarterly. That is so 1977. We
                                      would expect reports to be filed far more often, and we have to dis-
                                      cuss what reports should be made public, and I look forward also
                                      to looking at margin selling.
                                        Chairwoman WATERS. Thank you. I now recognize the ranking
                                      member of the subcommittee, the gentleman from Michigan, Mr.
                                      Huizenga, for 1 minute.
                                        Mr. HUIZENGA. Thanks, Madam Chairwoman. Advancements in
                                      technology have improved access to our capital markets and cre-
                                      ated new opportunities for countless Americans to participate in
                                      our markets who were previously excluded. App-based interfaces,
                                      combined with zero commission trades, fractional share trading,
                                      and lowered account minimums, have ushered in a new generation
                                      of investors. However, instead of celebrating this new era of invest-
                                      ment, how have my colleagues across the aisle responded for the
                                      most part? By falsely claiming that this increase in market partici-
                                      pation has caused gamification in the experience, that markets are
                                      rigged, and some have even gone so far as to equating it to gam-
                                      bling in a casino.
                                        As Rahm Emanuel famously said, ‘‘You never want a serious cri-
                                      sis to go to waste. It is an opportunity to do things that you think
                                      you could not do before.’’ Well, that is exactly what my friends on
                                      the other side of the aisle are doing. They are exploiting a high-
                                      profile situation to push a radical progressive agenda of these pro-
                                      posed, small ‘‘D,’’ democratic solutions that will only further pre-
                                      vent everyday American investors from accessing our capital mar-
                                      kets, and deny them the opportunity to further save and invest for
                                      a more prosperous future.
                                        I yield back.
                                        Chairwoman WATERS. Thank you. I want to now welcome today’s
                                      distinguished witnesses to the committee.
                                        First, we have the Honorable Gary Gensler, who is the recently-
                                      confirmed Chair of the U.S. Securities and Exchange Commission.
                                      This is Chair Gensler’s first time appearing before the committee
                                      in his current capacity. He has previously served as Chair of the
                                      Commodity Futures Trading Commission, and in several senior
                                      roles at the Department of the Treasury.
                                        Second, we have Mr. Michael Bodson, who is the President and
                                      Chief Executive Officer of the Depository Trust & Clearing Cor-
                                      poration (DTCC).
                                        And finally, we have Mr. Robert Cook, who is the President and
                                      Chief Executive Officer of the Financial Industry Regulatory Au-
                                      thority (FINRA).
                                        Each of you will have 5 minutes to summarize your testimony.
                                      You should be able to see a timer on your screen that will indicate
                                      how much time you have left, and a chime will go off at the end
                                      of your time. I would ask you to be mindful of the timer, and quick-




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                                      ly wrap up your testimony if you hear the chime. And without ob-
                                      jection, your written statements will be made a part of the record.
                                        Chair Gensler, you are now recognized for 5 minutes to present
                                      your oral testimony.
                                      STATEMENT OF THE HONORABLE GARY GENSLER, CHAIRMAN,
                                          U.S. SECURITIES AND EXCHANGE COMMISSION (SEC)
                                         Mr. GENSLER. Good afternoon, Chairwoman Waters, Ranking
                                      Member McHenry, and members of the committee. I am honored
                                      to appear before you today for the first time as Chair of the Securi-
                                      ties and Exchange Commission. I have been in front of this com-
                                      mittee multiple times in multiple Administrations, and I will say
                                      this: I look forward to the day when we can meet in person in your
                                      beautiful hearing room again.
                                         Thank you for inviting me to testify about January’s market vol-
                                      atility, and I am pleased to be here with Mike Bodson and Robert
                                      Cook, whom I have known for a number of years as well.
                                         I would like to note that my views are my own, and I am not
                                      speaking on behalf of my fellow Commissioners or of the SEC staff.
                                         These events are part of a larger story about the intersection of
                                      finance and technology, which have lived in a symbiotic relation-
                                      ship since antiquity. And one thing that I have come to believe is
                                      that technology can allow greater access to our capital markets.
                                      Our central question is this, though: When new technologies come
                                      along and change the face of finance, as they have done for dec-
                                      ades, how do we continue to achieve our core public policy goals?
                                         In my role, I will always be animated by thinking about working
                                      families in the SEC’s three-part mission: protecting investors; pro-
                                      moting fair, orderly, and efficient markets; and facilitating capital
                                      formation. I am pleased to submit written testimony that goes into
                                      detail on several factors at play during January’s events. I will just
                                      highlight a few of those key issues in this opening statement.
                                         The first is gamification and user experience. I agree with the
                                      Members who have already said that these new user experiences
                                      have facilitated a lot of opportunity for investors. They have ex-
                                      panded access to capital, making it easier for investors to sign up,
                                      start trading, and learn about investing. These apps also use a host
                                      of features that have come to be familiar in our increasingly-online
                                      world such as gamification, behavioral props, and predictive data
                                      analytics. Many of these features, in essence, encourage investors
                                      to trade more frequently. This could have a substantial effect on a
                                      saver’s financial position. Some academic studies suggest that the
                                      more actively you trade, the lower your returns, so while they are
                                      encouraging investing, they may also be encouraging active trad-
                                      ing.
                                         I have asked the staff to prepare a request for public comment
                                      on these issues. The SEC must remain attuned to rapidly-changing
                                      technologies with an eye to freshening up our rule set, where ap-
                                      propriate, to continue to achieve our mission. If we don’t address
                                      this now, the investing public, those saving for future retirement
                                      and education, may shoulder the burden later.
                                         The second topic I would like to discuss is this area around pay-
                                      ment for order flow. This practice brings to mind a number of ques-
                                      tions, including whether it creates inherent conflicts of interest be-




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                                      tween the broker-dealers on the one side, and their customers on
                                      the other, who want to achieve, under our rules, best execution.
                                      Now, it is important to consider this, I think, in the overall context
                                      of market structure. Currently, a significant amount of retail or-
                                      ders are routed to a small number of wholesalers. I detail this more
                                      in my written testimony, but I think it raises questions about
                                      whether the market structure best promotes fair, orderly, and effi-
                                      cient markets. Evolving market technologies, along with this pay-
                                      ment for order flow, has also led to increasing market concentra-
                                      tion, which we have found, and history and economics show, can
                                      lead to fragility in markets, deter healthy competition, and limit in-
                                      novation.
                                         The next issue is short selling and market transparency, and,
                                      again, as outlined in my written testimony, under the Dodd-Frank
                                      Act reforms, the SEC received mandates and authorities to in-
                                      crease transparency in the markets. So, I have asked SEC staff to
                                      prepare recommendations on transparency and short selling, stock
                                      loan markets, and something called total return swaps, which was
                                      at the center of this Archegos event in March, for Commission con-
                                      sideration. And the five of us Commissioners can take a look to see
                                      what to do next.
                                         Next, today’s social media tools have far greater reach, scale, and
                                      anonymity than previous technology. This raises the possibility
                                      that wrongdoers will attempt to use their powerful forums to hype
                                      certain stocks or manipulate markets. I am not concerned about
                                      regular investors exercising their free speech rights online; I am
                                      more concerned whether bad actors potentially take advantage of
                                      influential platforms.
                                         Further, the decisions by some broker-dealers to redirect cus-
                                      tomer trading raised several issues around clearance and settle-
                                      ment. In essence, they stopped investors from investing, and this
                                      raises questions of the market, what I will call, ‘‘plumbing.’’ Sorry
                                      to Mike Bodson if I call infrastructure, ‘‘plumbing,’’ but investors
                                      were shut out. I do believe we can lower costs and risk in our mar-
                                      ket by shortening the settlement cycle. For instance, I have asked
                                      SEC staff to put together a draft proposal for the Commission on
                                      the possibility of shortening the settlement cycles.
                                         Thank you. I look forward to your questions. It is good to be back
                                      with you, and, again, I look forward to doing this in person.
                                         [The prepared statement of Chairman Gensler can be found on
                                      page 89 of the appendix.]
                                         Chairwoman WATERS. Thank you, Chair Gensler. Next, we will
                                      go to Mr. Bodson. You are now recognized for 5 minutes to present
                                      your oral testimony.

                                      STATEMENT OF MICHAEL C. BODSON, PRESIDENT AND CHIEF
                                       EXECUTIVE OFFICER, THE DEPOSITORY TRUST & CLEARING
                                       CORPORATION (DTCC)
                                        Mr. BODSON. Chairwoman Waters, Ranking Member McHenry,
                                      and members of the committee, my name is Michael Bodson, and
                                      I am the CEO of The Depository Trust & Clearing Corporation
                                      (DTCC), a holding company that operates three SEC-regulated
                                      clearing agencies, including the National Securities Clearing Cor-




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                                      poration, or NSCC, of which I will speak to you today. I appreciate
                                      this opportunity to speak to the committee.
                                         In my line of work, the best days are those when nothing too ex-
                                      citing happens. That is because DTCC is, at its heart, a risk man-
                                      agement organization enhancing efficiencies and reliability in the
                                      markets. On a normal day, we process about 200 million buys and
                                      sells for a value of nearly $2 trillion. Through netting, that is re-
                                      duced to about $1 million in securities movement and $35 billion
                                      in cash movement, creating significant efficiencies in the market.
                                         When you buy or sell a stock, it takes 2 days for the trade to be
                                      completed. This is called T+2 settlement: trade date plus 2 days.
                                      A lot could happen during those 2 days that could create a risk
                                      that the buyer or seller fails to deliver money or shares. Because
                                      of clearing, investors don’t have to worry about that. Clearing pro-
                                      tects both firms and their customers against default risk. Default
                                      risk can destabilize markets, particularly in volatile times. People
                                      are reluctant to trade if they aren’t sure they will get what they
                                      agreed to. And imagine how inefficient it would be for every market
                                      participant to have to assess the creditworthiness of everyone else
                                      in the market.
                                         That is where DTCC comes in. We are infrastructure. You can
                                      call us, ‘‘plumbing.’’ We are not insulted. We operate behind the
                                      scenes to guarantee completion of virtually all equity trades. We do
                                      not trade or take positions or bet on the direction in the market.
                                      We do not give investment advice. We do not know who the cus-
                                      tomers are behind the trades or their reasons for trading. We sim-
                                      ply process and risk-manage trades.
                                         DTCC protects against default risk by collecting margin, which
                                      is money that clearing members post as collateral. If a declaring
                                      member defaults between trade date and settlement date, DTCC
                                      uses that collateral to complete the defaulting member’s trades no
                                      matter how much prices may have changed.
                                         Margin requirements are calculated using statistical models and
                                      model-based calculations that are set forth in our rules, which
                                      must be approved by the SEC. Margin requirements increase the
                                      risk, and the member’s portfolio increases. In other words, the
                                      greater the potential loss the default could produce, the greater the
                                      need for collateral.
                                         Volatility has a very large impact on margin requirements. We
                                      saw this play out during the week of January 25th. Both volume
                                      and volatility that week were extraordinary, exceeding the pan-
                                      demic-related record volume from March 2020 by more than 100
                                      million trades. The concentration of trading in a small number of
                                      meme stocks that week was also extraordinary. Applying those sta-
                                      tistical models of formulas, margin requirements increased sub-
                                      stantially for firms with large volumes in these stocks.
                                         I appreciate that this committee is exploring ways to continue to
                                      improve our markets. I would like to describe one effort that DTCC
                                      has undertaken to date, which is shortening the settlement cycle
                                      for equities from 2 days to 1 day. That may sound like a small
                                      thing if it is just 1 day, but cutting the settlement period in half
                                      can make a difference. We believe that shortening the settlement
                                      cycle to T+1 would enhance market resilience, reduce margin re-
                                      quirements, and lower costs for investors. Following a multi-year,




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                                      industry-wide effort, settlements were shortened in 2017 from T+3
                                      to T+2, achieving margin savings estimated at 25 percent. DTCC
                                      estimates that the volatility component of margin requirement
                                      could potentially be reduced by 40 percent when it moves to T+1.
                                      This could save our clearing members upwards of $6 billion per day
                                      during periods of extreme volatility.
                                         While DTCC’s technology can support T+1 today, changing the
                                      industry convention is a major undertaking that will require co-
                                      ordinated efforts across the whole industry. Over the past year,
                                      DTCC has engaged with a cross-section of the industry to assess
                                      readiness to further shorten the settlement cycle. In February,
                                      DTCC published a White Paper outlining the benefits associated
                                      with multiple changes to the settlement cycle, including a move to
                                      T+1. We are working with the Securities Industry and Financial
                                      Markets Association (SIFMA) and the Investment Company Insti-
                                      tute (ICI) to accelerate this effort.
                                         Thank you again for the opportunity to testify today. I look for-
                                      ward to your questions.
                                         [The prepared statement of Mr. Bodson can be found on page 70
                                      of the appendix.]
                                         Chairwoman WATERS. Thank you very much, Mr. Bodson. Mr.
                                      Cook, you are now recognized for 5 minutes to present your oral
                                      testimony.
                                      STATEMENT OF ROBERT W. COOK, PRESIDENT AND CHIEF EX-
                                       ECUTIVE OFFICER, FINANCIAL INDUSTRY REGULATORY AU-
                                       THORITY (FINRA)
                                         Mr. COOK. Thank you, Chairwoman Waters, Ranking Member
                                      McHenry, and members of the committee for this opportunity to
                                      testify today, together with Chair Gensler and Mr. Bodson, regard-
                                      ing the January market events related to trading in GameStop and
                                      in other stocks. We commend the committee’s review of these
                                      events and related investor protection concerns.
                                         FINRA’s mission is to protect investors and promote market in-
                                      tegrity. We are a not-for-profit self-regulatory organization (SRO),
                                      and we support the SEC in overseeing one critical part of the secu-
                                      rities industry: certain broker-dealers and the individuals they em-
                                      ploy. To that end, we administer comprehensive regulatory pro-
                                      grams, including surveillance, risk monitoring, examination, and
                                      enforcement. And we, in turn, are subject to comprehensive exam-
                                      ination and oversight by the SEC.
                                         This committee has heard already about the events of January,
                                      including the significant price swings and trading volume in
                                      GameStop and a limited number of other stocks. In this context,
                                      some broker-dealers restricted trading in these securities on a
                                      short-term basis. This led to confusion and frustration among some
                                      investors and concerns about the fairness of the markets. The
                                      event also focused attention on the growth of popular new retail
                                      trading platforms and services, changes in investor behavior, and
                                      the influence of social media on the markets.
                                         Our markets are dynamic and are continually evolving. Market
                                      participants constantly innovate new technologies, methods of com-
                                      munication, and investment products and services. These innova-
                                      tions often benefit investors, such as by providing easier access to




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                                      the markets, lower costs, and a wider range of investment products
                                      and services to choose from, but they can also present new and
                                      sometimes unanticipated risks, so regulators must constantly re-
                                      view whether the rules governing the road need to be updated in
                                      light of new developments to better protect investors, while still fa-
                                      cilitating vibrant and innovative markets and the opportunities
                                      these create. At FINRA, we are committed to doing just that. One
                                      important resource we rely on in this process is the research of the
                                      FINRA Investor Education Foundation, including recent research
                                      on new, inexperienced investors, and how they approach investing.
                                         Since the events of January, FINRA has established an internal
                                      working group that is devoting significant resources to inves-
                                      tigating whether its broker-dealer members comply with SEC and
                                      FINRA rules. We have also issued regulatory notices reminding
                                      firms of relevant duties and responsibilities in this area.
                                         Although I cannot comment on specific firms or ongoing inves-
                                      tigations or enforcement matters, generally speaking, we are re-
                                      viewing order routing practices, the circumstances under which
                                      trading restrictions were imposed, any potential manipulative con-
                                      duct, and compliance with short-sale requirements, among other
                                      matters. I can assure the committee that we will take all appro-
                                      priate disciplinary or other remedial action as warranted if the
                                      facts indicate a violation of SEC or FINRA rules.
                                         The upcoming SEC report on these market events will be critical
                                      in analyzing whether existing rules and standards should be up-
                                      dated. Many of the policy questions raised in your hearings to date
                                      involve areas in which the SEC has primary policymaking respon-
                                      sibilities such as market structure, payment for order flow, short
                                      sale regulation and disclosure, the settlement cycle, enhanced
                                      broker-dealer financial responsibility requirements, and whether
                                      certain communications with retail investors constitute rec-
                                      ommendations that should be covered by the SEC’s Regulation Best
                                      Interest. We will support the SEC in its review of these areas and
                                      then align FINRA’s rules and oversight activities where necessary
                                      or appropriate.
                                         My written testimony offers some further perspectives on key
                                      topics under the SEC’s jurisdiction and also describes some areas
                                      where we are considering whether updates to guidance regarding
                                      our own rules would be appropriate. For example, we intend to re-
                                      view short sale position reporting by broker-dealers, as well as con-
                                      tinue our review of the effects of gamification on retail investors.
                                      FINRA looks forward to working with this committee, the SEC,
                                      and our fellow regulators to review and learn from these recent
                                      market events so that we can strengthen investor protections and
                                      enhance confidence in our nation’s capital markets.
                                         Thank you, and I would be happy to answer your questions.
                                         [The prepared statement of Mr. Cook can be found on page 76
                                      of the appendix.]
                                         Chairwoman WATERS. Thank you very much, Mr. Cook.
                                         I now recognize myself for 5 minutes for questions, and my first
                                      question is for Chair Gensler. This committee has examined nu-
                                      merous issues that have arisen out of the GameStop short squeeze
                                      that took place earlier this year, including systemic risk arising
                                      from firms such as Citadel, who are executing close to 50 percent




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                                      of all U.S.-listed retail volume. During the first hearing, I ques-
                                      tioned whether Citadel poses a systemic risk to our financial mar-
                                      kets. I am also concerned about what Citadel’s outsized market im-
                                      pact means for pricing and best execution, another market struc-
                                      ture issue that this committee has examined as part of these hear-
                                      ings.
                                         As the newly-confirmed Chair of the SEC, what will your ap-
                                      proach be with respect to mitigating the risk associated with out-
                                      sized market impact and understanding threats to our financial
                                      stability?
                                         Mr. GENSLER. Thank you for that question. I think that at the
                                      heart of well-functioning markets and the mission of the SEC—fair,
                                      orderly, and efficient markets—is promoting competition in mar-
                                      kets. It can be done through transparency, but it is also looking at
                                      our rule set to make sure that our rule set inspires more competi-
                                      tion rather than concentration. And we have seen, as you noted in
                                      your hearing, an increasing concentration in market making, and
                                      also, separately, in brokerage, and particularly around retail order
                                      flow.
                                         And so I have asked the staff from the Divisions of Economic
                                      Risk and Analysis, and Trading and Markets, to sort of give us a
                                      view, give internally the Commission a view of what we should be
                                      thinking about in our market structure to address this.
                                         We have seen such concentration come in other markets. We
                                      know it is in search. When we all go online and search, there is
                                      really one dominant search engine. We know it is true in retail
                                      buying, retail products online. There is some dominance to that.
                                      And so, our modern 2020’s economy does tend towards certain,
                                      what is called economics network effects. So, I have asked the staff
                                      just to think through that and to provide us with guidance as Com-
                                      missioners on how do we promote competition in the face of these
                                      network economic effects that are leading to concentration.
                                         Chairwoman WATERS. I want to thank you for that response, and
                                      I think what I am hearing from you is that there is real concern
                                      about concentration. And while you have instructed staff to do
                                      some additional research to determine the extent of it, it is some-
                                      thing that we should be concerned about, is that correct?
                                         Mr. GENSLER. Yes. I think that capital formation for issuers and
                                      for investors on the other side benefit from some broad competition
                                      amongst market actors. And as we get more concentration in the
                                      middle market, whether it is market making or brokerage, we
                                      could lose that concentration. It could lead to more fragile markets,
                                      meaning less orderly, and also more costly or less efficient markets.
                                      And that is what history and economics tell us when we get con-
                                      centration.
                                         Chairwoman WATERS. Thank you very much. I appreciate the
                                      concern that you are identifying as we talked about this concentra-
                                      tion, and what could happen if, in fact, we are not aware of it and
                                      don’t make an effort to deal with it.
                                         I now recognize the ranking member, Mr. McHenry, for his ques-
                                      tions.
                                         Mr. MCHENRY. Thank you, Madam Chairwoman. Chairman
                                      Gensler, thank you for being here, and welcome back before the
                                      committee, and congratulations on your new role. I know that Act-




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                                      ing Chair Lee, at the time of this GameStop trade, emphasized that
                                      the core market infrastructure is quite resilient. Does the Commis-
                                      sion intend to release any additional findings?
                                         Mr. GENSLER. Thank you. And thank you for our meeting earlier
                                      this week. I look forward to doing those on a regular basis with the
                                      Chair, and you, and the subcommittee, and other members. We are
                                      looking at putting together a report. I am only in my 3rd week on
                                      the job, but our economists, our Trading and Markets folks have
                                      come together, and I think we will be releasing a report sometime
                                      this summer that will detail the range of activities out of the Janu-
                                      ary events.
                                         Mr. MCHENRY. Thank you for that. Small businesses right now
                                      are emerging from the pandemic just like everyone is, and these
                                      small businesses need access to capital. And, as you know, I have
                                      been focused on some of the burdensome requirements of the origi-
                                      nal Regulation Crowdfunding (Reg CF), which I helped legislate,
                                      and President Obama signed into law. There have been some help-
                                      ful changes made to Reg CF to make it more efficient and to boost
                                      trading in Reg A and Reg CF securities, such as preemption under
                                      certain State regulations. Do you support these streamlining efforts
                                      for small businesses, and are you looking at additional steps?
                                         Mr. GENSLER. I look forward to working with you and your staff
                                      to learn more about your initiatives and suggestions. But at the
                                      core, and maybe it is just a bit because my dad had a small busi-
                                      ness, never more than 30 employees, and didn’t have access to the
                                      capital markets, but I think that small business, entrepreneur ef-
                                      forts are really kind of, if I might say, a bit of the backbone of
                                      American entrepreneurism and our economy. And so, access to the
                                      capital markets is a critical piece, whether it is accessing loans
                                      that might be securitized in the markets or accessing through equi-
                                      ties. But I look forward to hearing more from you and your staff
                                      on ideas.
                                         Mr. MCHENRY. Okay. But no comment on Reg CF?
                                         Mr. GENSLER. Again, I’m just 3 weeks on the job, so I haven’t
                                      looked closely at Reg CF yet or, frankly, done a detailed enough
                                      briefing to see how we can, as you say, and I really do believe this,
                                      facilitate capital formation up and down the issue or spectrum.
                                         Mr. MCHENRY. Let’s pivot to something that you spent some time
                                      out of government understanding. I think what we all have tried
                                      to seek is greater collaboration across agencies on the regulatory
                                      framework for digital assets, cryptocurrencies, notably. This in-
                                      cludes more engagement from industry and appropriate regulators.
                                      In 2019, SEC staff produced the framework for investment contract
                                      analysis of digital assets. Since then, the staff has sought feedback
                                      on a number of issues, most recently on the evolving standards and
                                      the best practices for custody. This is progress, but I believe more
                                      concrete steps are necessary to further the crypto market. As you
                                      look at this issue, what steps can you outline to bring regulatory
                                      clarity so that we can have a vibrant digital asset marketplace
                                      with legitimate money and the rule of law?
                                         Mr. GENSLER. Thank you for asking that. And I think that this
                                      market, which is close to $2 trillion, the crypto asset market, is one
                                      that could benefit from greater investor protection within the SEC’s
                                      current authorities, our authorities around securities, and around




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                                      asset managers and products that might invest in these
                                      cryptocurrencies. As you mentioned, we put out a comment, I think
                                      it was in October or November, asking for feedback on custody. I
                                      would hope that we would move forward and provide greater clar-
                                      ity around custody.
                                         I do think that working with Congress, and I think it is only
                                      Congress that could really address it, it would be good to consider,
                                      if you would ask my thoughts, to consider whether to bring greater
                                      investor protection to the crypto exchanges. And I think if that
                                      were the case, because right now the exchanges trading in these
                                      crypto assets do not have a regulatory framework either at the
                                      SEC, or our sister agency, the Commodity Futures Trading Com-
                                      mission, that could instill greater confidence. Right now, there is
                                      not a market regulator around these crypto exchanges, and, thus,
                                      there is really not a protection against fraud or manipulation or
                                      a—
                                         Mr. MCHENRY. I have time for one final question, Chairman
                                      Gensler. I am encouraged by your comments on crypto. Last year,
                                      the Commission proposed to allow certain gig workers to have ac-
                                      cess to equity compensation under the SEC’s rules. Will you com-
                                      mit to finishing this important rulemaking?
                                         Mr. GENSLER. Again, I’m in my 3rd week, so I need to get a brief-
                                      ing on it. I commit to work with the staff to understand what the
                                      comments were, because I don’t know what comments came in, and
                                      to trying to understand the economics around that rule set.
                                         Mr. MCHENRY. Thank you, and I wish you great luck in your ten-
                                      ure, and thank you for your testimony. Thank you for your out-
                                      reach.
                                         Mr. GENSLER. Thank you.
                                         Chairwoman WATERS. I now recognize the gentlewoman from
                                      New York, Mrs. Maloney, for 5 minutes.
                                         [No response.]
                                         Chairwoman WATERS. We will go on to the gentlewoman from
                                      New York, Ms. Velazquez.
                                         [No response.]
                                         Chairwoman WATERS. The gentleman from California, Mr. Sher-
                                      man, who is also the Chair of our Subcommittee on Investor Pro-
                                      tection, Entrepreneurship, and Capital Markets, is now recognized
                                      for 5 minutes.
                                         Mr. SHERMAN. Responding to the ranking member, who wants to
                                      instill confidence in those buying and selling cryptocurrencies, the
                                      only confidence I have is the U.S. dollar is an outstanding good cur-
                                      rency, but cryptocurrencies, if they succeed, will have unique ap-
                                      peal to only two groups: narco-terrorists; and tax evaders. And for
                                      us to channel the animal spirits that should be investing in the
                                      American economy into creating tools for those who want to evade
                                      U.S. taxes is a step toward a much weaker America.
                                         Mr. Gensler, you talked about Archegos and the total return
                                      swap. The image I have of 1929 is investors jumping out of build-
                                      ings on Wall Street because they bought stock at 7, 8, 9 times mar-
                                      gin. And in the 1930s, we decided to protect the markets and say
                                      that if you want to buy stock, the most margin you could get was
                                      1-time margins, sometimes a little more. But we then see that
                                      using a total return swap, the big guys, like Archegos, can get 7




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                                      times margin, can invest only one-seventh of the cash to control
                                      $100 million worth of this block of shares or that block of shares.
                                         This raises the question, is 7-to-1 margin fine for everybody, and
                                      is that good for the markets? Should 1-time margin either rule for
                                      everybody and we should plug the loopholes, or should we continue
                                      to have a system where, if you are a family office, you can have
                                      7 times margin by calling it a total return slot, and if you are the
                                      regular Robinhood investor, you can only get 1 time? What should
                                      the market rule be?
                                         Mr. GENSLER. I think you raise some very important questions
                                      that came out of the market events late in March, not the January
                                      ones but the March events around a family office, Archegos. Family
                                      offices are outside of much of the SEC’s remit, but not all of it.
                                         Mr. SHERMAN. If I can clarify, this is not a question about family
                                      offices.
                                         Mr. GENSLER. Oh, okay.
                                         Mr. SHERMAN. Just that one investment company that has $1 bil-
                                      lion and decides they want a 7-to-1 margin. The fact this was a
                                      family office, put that aside. Whether you disclose it or you don’t,
                                      whether you are a family office or a hedge fund or a billionaire,
                                      should you be able to get 7-to-1 margin, and if so, why can’t
                                      Robinhood?
                                         Mr. GENSLER. I have asked staff to better understand—and,
                                      again, it is just the 3rd week—the rules that were adopted by the
                                      SEC that are yet to go into final implementation around the mar-
                                      gin and for these securities-based swaps, and how they would have
                                      affected the circumstances.
                                         Mr. SHERMAN. I look forward—
                                         Mr. GENSLER. But you are right, sir, that they are different than
                                      the retail investor, and this is true across our markets. And I have
                                      asked staff to better inform me as to what are we seeing there.
                                         Mr. SHERMAN. For Mr. Cook, when it comes to disclosing short
                                      selling, there are arguments on both sides as to whether to disclose
                                      what an individual investor is doing. Some say it is harmful, some
                                      say it is helpful, but there seems to be agreement that the aggre-
                                      gate information is helpful, but we ought to know in aggregate how
                                      many shares of GameStop are short. You generate that informa-
                                      tion, but you don’t put it on your website. I am told that you pro-
                                      vide it to the exchanges and they publish it if they want to, and,
                                      often behind a pay wall. Why doesn’t FINRA disclose all this infor-
                                      mation to everybody for free as quickly as you can?
                                         Mr. COOK. Thank you, Mr. Sherman. That is a great question.
                                      As we look at disclosure around short selling, I think there are
                                      some good arguments that we can do more here. I have asked our
                                      staff to prepare a regulatory notice to solicit comment on changes
                                      to FINRA’s disclosure here to make it more frequent and more
                                      granular. And certainly as part of that, we can look at the way in
                                      which that disclosure is disseminated.
                                         Mr. SHERMAN. Is there any justification for what is a regulatory
                                      agency generating this information and giving it to private compa-
                                      nies for them to sell rather than disclosing it to the public?
                                         Mr. COOK. I appreciate the gist of your question, sir, and I am
                                      inclined to be biased towards making it publicly available. I don’t
                                      understand all the history behind how this developed. I think that




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                                      is something we need to look into, but I commit to you that we can
                                      certainly do that.
                                         Mr. SHERMAN. My time has expired, but I look forward to looking
                                      at not only payment for order flow, but how we get the best price
                                      improvement for every investor, whether it be an internalized
                                      transaction or when it goes to a market maker. I will just say, if
                                      Citadel can’t pay Robinhood, would it be different if Citadel bought
                                      Robinhood? That is just for the record. I yield back.
                                         Chairwoman WATERS. Thank you very much. The gentlewoman
                                      from Missouri, Mrs. Wagner, is now recognized for 5 minutes.
                                         Mrs. WAGNER. Thank you, Madam Chairwoman. Chairman
                                      Gensler, welcome as the new SEC Chair. And I want to take this
                                      opportunity to veer off course a bit and mention that after years
                                      of thorough and proactive input and feedback from stakeholders,
                                      including Main Street investors, the SEC has finalized its Regula-
                                      tion Best Interest (Reg BI), which is now in effect. This rule raises
                                      the standard of care for broker-dealers while preserving access and
                                      choices for Main Street investors.
                                         Chairman Gensler, under your leadership, does the SEC plan to
                                      make any amendments to Reg BI?
                                         Mr. GENSLER. Thank you. It’s good to see you here today. As I
                                      said in my confirmation hearing, when a similar question came up,
                                      I think that it is important that investors actually have brokers
                                      take their best interests to heart, and that is what we are going
                                      to do through examination and enforcement guidance, ensure that
                                      that rule is fully complied with as written.
                                         Mrs. WAGNER. Great. Applied as written. I’m glad to hear it.
                                      Thank you. Chairman Gensler, as you begin your work at the SEC,
                                      I want to really urge you to ensure that the Commission and its
                                      staff, under your leadership, follow its very core mission, which is
                                      to protect investors, which I care deeply about here in Missouri’s
                                      2nd District; to maintain fair, orderly, and efficient markets; and
                                      to facilitate capital formation. I want to thank you for appearing
                                      before us today, and I hope that we can work together to provide
                                      investment choice, and access, and affordability, I would say, to
                                      America’s Main Street investors. Thank you.
                                         Mr. Bodson, is it possible that a financial transaction tax (FTT)
                                      could increase financial market volatility?
                                         Mr. BODSON. Thank you, Congresswoman. FTT is not an area of
                                      my expertise. Obviously, there have been a lot of studies done in
                                      a lot of different markets with very, very mixed results, mostly fo-
                                      cused on whether or not they are an effective tool for raising taxes.
                                      In some markets, like Hong Kong, they have been effective, but
                                      they have a very different income tax and capital gain structure,
                                      and no capital gains tax. In other markets, they have been shown
                                      to limit trading or subdue it, so they don’t have the effect that is
                                      expected. I have not seen anything discussing FTTs and volatility,
                                      per se. My uneducated guess would be they would be somewhat
                                      separated, but, again, I have not seen any studies to indicate either
                                      way.
                                         Mrs. WAGNER. Aren’t there more effective ways to improve our
                                      financial market operations than the bills being proposed today?
                                      Can you describe any of those, Mr. Bodson?




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                                         Mr. BODSON. Thank you, Congresswoman. The step from T+2 to
                                      T+1 will create a lot of efficiencies in the marketplace, both on the
                                      operational side as well as lowering the margin requirements that
                                      we imposed because of the 2-day settlement versus 1-day settle-
                                      ment. So, I think those would be steps in the right direction in
                                      terms of lowering cost, not just for our direct members, but for the
                                      end beneficiaries, be it mutual fund, pension funds, or the small re-
                                      tail investor. We look to decrease cost whichever way we can.
                                         Mrs. WAGNER. Mr. Bodson, in your view, how would shortening
                                      the settlement cycle help prevent future trading restrictions similar
                                      to the ones imposed by Robinhood and other brokerages earlier this
                                      year?
                                         Mr. BODSON. I am not aware of the reasons for other firms, so
                                      I am not going to speculate about that. Robinhood did say that
                                      their decision was based on their ability to meet our margin
                                      charges. If we do lessen the time to settlement from T+2 to T+1—
                                      time is risk, which I think has been well explained—that by low-
                                      ering the period, the amount of open transactions that we have to
                                      charge margin against would get smaller. And our estimation is
                                      that the volatility charge, which is a main component, will go down
                                      by 40 percent. So in that sense, the capital charge against
                                      Robinhood would have been smaller, but, again, it is a little bit of
                                      apples and oranges, because to say it would automatically happen
                                      without knowing the market circumstances obviously is hard to
                                      say. But there would be a benefit to firms in having lower capital
                                      charges.
                                         Mrs. WAGNER. It sounds like, if proposed, going even further
                                      than T+1 and moving to real-time trade settlement. What sort of
                                      impact do you think this would have on the market liquidity?
                                         Mr. BODSON. We are not a proponent for a real-time gross settle-
                                      ment, as you articulate. You would lose all the benefits that our
                                      clearinghouse provides, all the netting inefficiencies I spoke about
                                      in terms of trillions of trades being netted down to millions of
                                      movements or 100 millions of trades going down to millions of
                                      movements, and trillions of dollars being netted down to billions of
                                      dollars. You would lose all that benefit. All transactions would have
                                      to be pre-funded and the securities would have to be on hand, so
                                      it would have a very large impact on institutional trading. It would
                                      cause some liquidity issues across the marketplace, so, a bridge too
                                      far, in my eyes.
                                         Mrs. WAGNER. Thank you, Mr. Bodson. My time has expired,
                                      and, Madam Chairwoman, I yield back.
                                         Chairwoman WATERS. Thank you. The gentleman from Georgia,
                                      Mr. Scott, who is also the Chair of the House Agriculture Com-
                                      mittee, is now recognized for 5 minutes.
                                         Mr. SCOTT. Thank you, Chairwoman Waters, for this interesting
                                      and much-needed hearing. The question before us today is, how can
                                      we on the Financial Services Committee ensure that our investors
                                      can both have access to our markets, but also are able to partici-
                                      pate in our markets by investing safely? You see, when erroneous
                                      and inaccurate information posted on social media sites has the
                                      ability to broadly influence investors and move the market, some-
                                      times drastically, this poses a serious question for you, our regu-
                                      lators. There is now such a huge hole in our regulatory process be-




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                                      cause of GameStop with inexperienced investors relying on
                                      unverified information from unqualified social media.
                                         Mr. Cook, let me start with you. How can we effectively regulate
                                      the impact of new technology social media sites as they pertain to
                                      inexperienced investors, and also, how do we treat that investment
                                      advice they are getting from unqualified people on social media?
                                      And then the real question, who is held accountable when bad in-
                                      vestment advice leads to market volatility like we have seen and
                                      massive losses for our investors? I would like for the three of you—
                                      Chair Gensler, Mr. Cook, and Mr. Bodson—to answer this impor-
                                      tant question and the three parts that I outlined. This is what the
                                      American people need answers to from you, the regulators. Mr.
                                      Cook, why don’t you start?
                                         Mr. COOK. Thank you, Congressman, for that question. I think
                                      you raised some really profound questions about where technology
                                      and other aspects of investor behavior may be going, and how does
                                      that fit within the current regulatory regime. When we talk about
                                      statements by people on social media and other places, just to be
                                      clear, FINRA doesn’t regulate that environment, and we would look
                                      to the SEC in sort of understanding whether existing authorities
                                      around concepts like manipulation or providing investment advice
                                      might apply. I do think that what we are also seeing, though, to
                                      your point about retail investors making decisions without an
                                      intermediary or a financial advisor, is an important one. As we see
                                      more of that happen, and we are seeing a lot of that happen, I
                                      think we need to ask whether the existing regime is adequate in
                                      that regard.
                                         Mr. SCOTT. Let me quickly get to Chair Gensler. I worked with
                                      him when he was Chair of the CFTC. Chair Gensler, how do we
                                      hold somebody accountable? Answer this for me. As Mr. Cook just
                                      said, the SEC is the one responsible. What do we do about this,
                                      Chair Gensler?
                                         Mr. GENSLER. I think you raise a good point. I know, probably
                                      like me, it is not about somebody’s free speech rights on social
                                      media, but if somebody is trying to manipulate a market, to de-
                                      fraud the market through social media, and in our rapidly-chang-
                                      ing technology, it could be computers and not even humans, by the
                                      way. It could be computers communicating. So, the SEC is a cop
                                      on the beat. We are going to vigorously lean in against individuals
                                      and companies to try to assess, but we will have to update our re-
                                      sources, too, to be able to see that relationship.
                                         Mr. SCOTT. My time is counting down. How are you going to
                                      solve this? Do you feel that we can so we don’t have any more of
                                      this GameStop?
                                         Mr. GENSLER. Madam Chairwoman, I don’t know what I am sup-
                                      posed to do, because the timer is beeping.
                                         Chairwoman WATERS. Thank you. I would expect that you would
                                      respond in writing to that question as we move on.
                                         And I am now going to call on the gentleman from Oklahoma,
                                      Mr. Lucas, who is recognized for 5 minutes.
                                         Mr. LUCAS. Thank you, Madam Chairwoman. First, congratula-
                                      tions, Chairman Gensler, on your confirmation. I have confidence
                                      that you will bring the same gusto and tenacity to your role as you
                                      did as Chairman of the CFTC, and I look forward to working with




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                                      you. And for the benefit of our colleagues, perhaps who are not on
                                      the Agriculture Committee, of course, Chairman Scott, you and I
                                      spent a lot of time in a previous position, both of us, working on
                                      a variety of issues over there. So that said, this past February, Act-
                                      ing Chair Lee announced that the SEC would enhance its focus on
                                      climate-related disclosure for public company filings and would
                                      begin to update climate disclosure guidance. As you can imagine,
                                      the industries that are vital to Oklahoma, meaning agriculture and
                                      energy, are following this topic very closely. I will put it that way.
                                         Chairman Gensler, could you shed some light on what this en-
                                      hanced focus means? Does this represent a change from current
                                      SEC practices, or is this a continuation of current policy?
                                         Mr. GENSLER. First, let me say thank you, I really do look for-
                                      ward to working with you and Chair Scott. I think we did some
                                      good work together on behalf of the American public, and on behalf
                                      of agricultural interests across the country as well.
                                         If I can broaden it out a little bit, I think that disclosure has
                                      been at the core of the securities laws for 90 years. Investors get
                                      to take risk, but they want to understand their risk and have dis-
                                      closures from the issuing companies, and technology has changed,
                                      markets have changed.
                                         So, what I have asked the staff to do is to prepare recommenda-
                                      tions to the Commission on how we can, through notice and com-
                                      ment, hearing a lot of public input as to what are those disclosures
                                      in a climate-risked area, that investors want to take into consider-
                                      ation in their decisions and their investment decisions. Acting
                                      Chair Lee already put out a comment period. We are going to ben-
                                      efit from that, and I encourage the public to weigh in and tell us
                                      what is important to them and their investment decisions and their
                                      proxy decisions, and the like.
                                         And I think it actually can help an issuer to bring some consist-
                                      ency and comparability in this area because there are a lot of in-
                                      vestors that are asking for things. We can try to maybe help bring
                                      some consistency and comparability, of course, through economic
                                      analysis and vital input from the public.
                                         Mr. LUCAS. I promise you, Mr. Chairman, you have gotten the
                                      attention of my constituents, and, of course, how questions are
                                      asked and how the data is interpreted can have a dramatic effect.
                                      So with that in mind, give me a feel for what kind of a timeline
                                      we are looking at when we get to the review part of this process,
                                      where my folks can offer their insights?
                                         Mr. GENSLER. If they wish, we could get some insight from them
                                      and input. There is an open comment period right now through
                                      June—we can tell you the exact date, but through June—that Act-
                                      ing Chair Lee had put up. But I think based on that and the eco-
                                      nomic analysis, we will try to put a proposal together. I don’t want
                                      to commit to a certain month, since I have only been there for 3
                                      weeks, but to try to put a proposal together and then put that out
                                      to public comment based on what we have already heard this sum-
                                      mer. And then, that sort of starts a multi-month process after that.
                                         Mr. LUCAS. Along that line, Mr. Chairman, the SEC has also cre-
                                      ated a climate and ESG task force within the Division of Enforce-
                                      ment to, I believe the phraseology is, develop initiatives to
                                      proactively identify ESG-related misconduct. Can you visit with us




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                                      for a moment about that, and do you envision that there will be
                                      enforcement actions prompted by the task force based on this new
                                      guidance? This new standard, I guess, is the better way to put it.
                                         Mr. GENSLER. The task force is looking at the guidance that is
                                      already in place. There is guidance that was put out on climate, I
                                      think in 2010. Two things: one, to see if companies are following
                                      that 2010 guidance and following the overall important disclosure
                                      regimes that are in place at this point in time; and two, it helps
                                      us and informs the Commission, all five of us, as we move forward
                                      to consider any future rules because we can sort of learn from what
                                      is happening right now in the Division of Corporation Finance, in
                                      the Division of Enforcement, and in the Division of Examinations,
                                      what is going on now. So one is just, are folks complying with the
                                      rules and laws that are in place, but two, it helps inform us about
                                      some of what is going on and how we can help bring more consist-
                                      ency and comparability in the future.
                                         Mr. LUCAS. Thank you, Madam Chairwoman.
                                         Chairwoman WATERS. Thank you. The gentleman from Texas,
                                      Mr. Green, who is also the Chair of our Subcommittee on Oversight
                                      and Investigations, is now recognized for 5 minutes.
                                         Mr. GREEN. Thank you, Madam Chairwoman, and I thank the
                                      witnesses for appearing as well.
                                         Madam Chairwoman, as you know, from the genesis of this proc-
                                      ess I have been concerned about trading ahead, and you called to
                                      our attention earlier that the one company, the largest market-
                                      maker, executes approximately 50 percent of all U.S. retail volume.
                                      That is quite an amount for one firm to manage, and that causes
                                      a good deal of consternation, especially when this firm finds itself
                                      engaged in trading ahead. There are penalties associated with
                                      trading ahead, but these penalties are primarily civil penalties.
                                      And as a result of a civil penalty, many times there is no acknowl-
                                      edgement of liability, just the penalty paid. For example, in one
                                      case, $700,000 was paid, but that $700,000, while it seems like a
                                      lot, really is not when we are dealing in billions of dollars.
                                         As a result, I have been very much concerned, and I see that
                                      there is one proposed piece of legislation that would amend the Se-
                                      curities and Exchange Act of 1934 to prohibit trading ahead by
                                      market makers and for other purposes as well.
                                         This is something that I think has reached a point where its time
                                      has come, and I’d like to ask Chair Gensler, are you of the opinion
                                      that we should not allow trading ahead, and also that we should
                                      not allow a major firm to simply build in a penalty as the cost of
                                      doing business?
                                         Mr. GENSLER. I thank you for that question, and I look forward
                                      to working with you. I think that our current rules, you are correct,
                                      are civil, but our current rule is that if you take a customer order
                                      and then trade ahead of that, that is out of bounds, it’s not allowed.
                                      And I think that is because the customer needs to come first, and
                                      in our market structure, that is what brokers are supposed to do.
                                         I look forward to working with you and your staff on any pro-
                                      posed legislation. I have not had a chance to look at that more
                                      carefully.
                                         Mr. GREEN. Thank you. The process, as Chair Gensler has indi-
                                      cated, is unfair to the persons who are making the purchase in the




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                                      market, who would like to become a participant but they do not
                                      have the advantage of the market maker.
                                         Let me ask Mr. Bodson, do you agree that this is a circumstance
                                      that we have to take a look at because we don’t want people to sim-
                                      ply build into the cost of doing business, the cost of trading ahead?
                                         Mr. BODSON. Thank you, Congressman Green. DTCC is not a di-
                                      rect regulator of the market as the SEC and FINRA are, but I
                                      think the situation described obviously would not be something any
                                      company would endorse. Having similar criminal penalties viewed
                                      as a normal cost of business is not something that I think any indi-
                                      vidual should be supportive of, so your comments stand, but unfor-
                                      tunately, the part of the market you are talking about is the trad-
                                      ing side. That is not what we are involved in. We are post-trade,
                                      and not being regulated there is not much I can do about that spe-
                                      cific issue, but thank you for asking me.
                                         Mr. GREEN. Thank you, and that is one of the reasons why I
                                      think legislation similar to what is being proposed is necessary, be-
                                      cause to penalize criminally requires some creative prosecution. We
                                      do not have a definitive law that makes it a crime to do this, lit-
                                      erally. And I am concerned that if you can simply make it the cost
                                      of doing business, you can continue to do business and build in that
                                      cost. This legislation would require due diligence on the part of the
                                      CEO, would require the CEO to, on an annual basis, certify that
                                      the CEO has performed a reasonable due diligence in ensuring that
                                      the market maker has not traded ahead, and has some liability
                                      when this occurs.
                                         This is something that we cannot allow to continue as simply a
                                      pat on the back, to a certain extent—some would say a slap on the
                                      wrist—but we have to do something about it. I think this legisla-
                                      tion addresses it, and I look forward to working with persons who
                                      are going to push this legislation to see if we can get it done.
                                         And I yield back, Madam Chairwoman.
                                         Chairwoman WATERS. Thank you very much. The gentleman
                                      from Florida, Mr. Posey, is now recognized for 5 minutes.
                                         Mr. POSEY. Thank you very much, Madam Chairwoman. Chair-
                                      man Gensler, some people believe the current short-selling prac-
                                      tices drag down share prices below fundamentals. What does your
                                      experience tell you, and what should we or could we do about it?
                                         Mr. GENSLER. Thank you for asking that question. Short selling
                                      has been part of the market structure for many decades, in fact,
                                      even before the securities laws, and economists have many studies,
                                      and there have been many debates on short selling and long. Your
                                      question is, could it move something to something other than fun-
                                      damentals. Long buying can also move something to something
                                      other than fundamentals.
                                         Our remit at the SEC is to ensure that the markets are fair, or-
                                      derly, and efficient, and that they are free of fraud and manipula-
                                      tion, but there are some times that individual securities might be,
                                      in a personal opinion, not aligned with fundamentals. But it might
                                      be sentiment, is the other piece. So, I just want to be careful that
                                      we stick to our important piece of it.
                                         We do think that there is a need for greater transparency on the
                                      short-selling side, and I have asked staff to propose, under the au-
                                      thorities Congress has already vested, that we have greater trans-




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                                      parency on the short-selling side. I am encouraged to hear that
                                      FINRA, under Robert Cook, is going to be doing some things in
                                      that area as well.
                                         Mr. POSEY. Thank you. Mr. Bodson, please share with us how
                                      you are working to reduce the settlement cycle to 1 day while pre-
                                      serving the benefits of netting and [inaudible] what the savings
                                      proposed on margin funds might be?
                                         Mr. BODSON. Thank you, Congressman, for that question. Short-
                                      ening the settlement cycle is the big concept of time equals risk.
                                      Reducing the period that trades are open and reducing the poten-
                                      tial impact of the default of one of our members means that we
                                      simply have to collect lower levels of margin or collateral. One of
                                      the biggest components of our calculation of margin is volatility-
                                      driven, what is happening in the market, how are prices moving,
                                      and by shorting that period, we believe we can reduce that charge
                                      by 40 percent in a volatile period. That could be $6 billion less cap-
                                      ital that firms have to post with us and can use elsewhere. So, it
                                      would be a significant amount for our members.
                                         Mr. POSEY. Great. I am really glad to hear that.
                                         Chairman Gensler, tell us about what the SEC is doing to ensure
                                      that payment for order flow doesn’t mean retail investors are sub-
                                      ject to unfair trades?
                                         Mr. GENSLER. I have asked the staff to take a close look at this
                                      in the context of the overall market structure, because payment for
                                      order flow, which some brokers use and some don’t, is, in essence,
                                      a payment to the broker for that order flow, and it can be in con-
                                      flict with the interests of that customer. And that inherent con-
                                      flict—we found in a case that was settled in December, where there
                                      was actually communication between the wholesaler and broker
                                      saying, ‘‘Look, I can give your customer more or I can give you
                                      more.’’ There was a tradeoff between these two.
                                         I think that we need to take a closer look at that, but also in the
                                      context of the overall equity market structure, because there is also
                                      payment for order flow on exchanges, which is called rebates. So,
                                      there are other pieces of this puzzle, not just to wholesalers.
                                         Mr. POSEY. Thank you, Mr. Chairman. Do you believe that co-
                                      operation among retail investors in chat rooms, for example, can be
                                      undesirable collusion in the equities market?
                                         Mr. GENSLER. I think that we should always be vigorously en-
                                      forcing our laws and ensuring that there is not fraud and manipu-
                                      lation. But again, we have a free speech right to go and say to a
                                      neighbor, whether it is online or in person, ‘‘I like this investment,’’
                                      and thoughtfully say why I like this investment. Our laws are
                                      about if somebody is trying to defraud another person, mislead an-
                                      other person, manipulate the markets, and that we should root out
                                      and vigorously root that out, whether it is a big institution, or an
                                      individual. or, frankly, a computer that’s controlled by a big institu-
                                      tion.
                                         Mr. POSEY. Okay. During your CFTC service, you once said that
                                      transparency isn’t costly. Would you explain that concept in the
                                      context of financial markets?
                                         Mr. GENSLER. Did you say that I had said transparency is a—
                                         Mr. POSEY. Transparency isn’t costly. It pays to be transparent.




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                                         Mr. GENSLER. I think transparency is at the heart of efficient
                                      markets. At dot-com, disclosure regimes are important for compa-
                                      nies, and that is a form of transparency, but I think that is at the
                                      heart of investors being able to take risk and understanding their
                                      risks.
                                         Mr. POSEY. Thank you, Mr. Chairman.
                                         Madam Chairwoman, my time is up, and I yield back.
                                         Chairwoman WATERS. Thank you. The gentleman from Missouri,
                                      Mr. Cleaver, who is also the Chair of our Subcommittee on Hous-
                                      ing, Community Development, and Insurance, is now recognized for
                                      5 minutes.
                                         Mr. CLEAVER. Thank you, Madam Chairwoman, and I thank all
                                      of our guests for being here. Chair Gensler, thank you for all the
                                      work you have done over the years, and I appreciate your presence
                                      here today.
                                         My great-grandpa, Reverend Noah Albert Cleaver, died in 1980.
                                      He was 103. He used to say—some new invention would come out,
                                      whether it was a toaster or a microwave, and he would say, ‘‘What
                                      are they going to do next?’’ And he was concerned. He thought that
                                      the people landing on the moon created a bunch of weather prob-
                                      lems in Texas. I never could get that out of his head.
                                         But sometimes, I am tempted to join in with my Grandpa on
                                      stuff. Going back to Mr. Scott’s discussion with you earlier, I have
                                      to tell you, I do have a lot of concerns, and maybe it is just some-
                                      thing I am going to have to learn to live with. But let me give you
                                      an example. The shares in Metro Bank in the UK, back in May,
                                      their shares fell over 10 percent before Metro could get control of
                                      the fake news about their financial free fall, and they are fortunate
                                      that it didn’t go further.
                                         I am extremely concerned about what is going on in regulations
                                      and what we need to do to ensure that social media doesn’t take
                                      control of our lives and take it in a direction that could be detri-
                                      mental to our democracy. Do you share that concern, and if so,
                                      what should we do, and how do we address the issue that was just
                                      experienced with Metro Bank?
                                         Mr. GENSLER. I think that the best way is to be technology-neu-
                                      tral but recognize that technologies in each generation provide us
                                      new ways to communicate, even as to when the telephone came
                                      along and there were debates about whether to allow the first tele-
                                      phone on the floor of the New York Stock Exchange. These are real
                                      debates that happened in the 1920s. I think technologies will come
                                      along in the 2020s, and we have to ensure we still stick to our prin-
                                      ciples of investor protection; fair, orderly, and efficient markets;
                                      and capital formation.
                                         So, we have to lean in at the SEC and learn how to basically be
                                      a cop on the beat so that free speech goes on but if somebody is
                                      trying to manipulate a market or spoof a market or put fraudulent
                                      information into a social media channel, that we protect investors
                                      against that. And particularly in this new computer age, that is
                                      more challenging. I think the SEC is up to the challenge, but it is
                                      definitely more challenging, and I have asked the folks at the SEC,
                                      how do we freshen up our rules in this new environment?
                                         Mr. CLEAVER. Do you have a division that works on this, that
                                      thinks about this, that plans for this, that goes through all kinds




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                                      of scenarios on what to do when this happens, anticipating an an-
                                      ticipatory department?
                                         Mr. GENSLER. No. Again, I am only in my third week, but I think
                                      between our Trading and Markets Division, our Enforcement Divi-
                                      sion, and our Examinations Division, it is through those units. But
                                      I think we constantly have to be evaluating, and to an earlier ques-
                                      tion, even, about Regulation Best Interest, we are going to vigor-
                                      ously get the most out of regulation best interest, but we are also
                                      going to evaluate. If it is not serving the purpose of investors, then
                                      we will update and freshen that rule as well as other rules, be-
                                      cause we always have to be evaluating that investors come first,
                                      aligned with our three-part mission.
                                         Mr. CLEAVER. Let me congratulate you on your confirmation, and
                                      I do recognize that you just walked in the door, and I am asking
                                      you some questions that you probably need a little more time to
                                      deal with. But I am hoping that, on a night when you are about
                                      to get a peaceful night’s rest, you will remember the questions
                                      raised by Congressman Cleaver about the markets and practice
                                      paranoia with the SEC, because I am really afraid of some bad
                                      stuff happening. I am hoping I am wrong, but I am glad you are
                                      there, and I look forward to you fixing some things.
                                         Mr. GENSLER. Thank you, and I wish I had met your grand-
                                      father. My mother would say that out of a space journey, the best
                                      thing that came out of it was Velcro. Mrs. Gensler thought that
                                      was the best thing that came out, so there you go.
                                         Chairwoman WATERS. Thank you. Thank you, gentlemen, very
                                      much.
                                         The gentleman from Missouri, Mr. Luetkemeyer, is now recog-
                                      nized for 5 minutes.
                                         Mr. LUETKEMEYER. Thank you, Madam Chairwoman, and wel-
                                      come to our witnesses.
                                         Mr. Gensler, in September of 2018, the Federal Reserve, the
                                      FDIC, the NCUA, the OCC, and the CFPB all issued an inter-
                                      agency statement that clarified the differences between supervisory
                                      guidance and laws and regulations. Most notably, that supervisory
                                      guidance does not have the force and effect of law, and that the law
                                      and regulations does.
                                         In January of this year, the prudential regulators issued a final
                                      rule to confirm the difference of regulations and guidance by codi-
                                      fying the 2018 statement. While I understand the SEC operates
                                      differently from the regulators I just mentioned, in many key ways,
                                      it is still imperative that the SEC distinguishes between guidance
                                      and rule or law.
                                         Do you agree that distinguishing between guidance and rules is
                                      an essential proponent of sound regulation?
                                         Mr. GENSLER. Thank you for that question, and I look forward
                                      to working with their Office of General Counsel to better under-
                                      stand what the bank regulators did in that circumstance. But there
                                      is a difference between rules that have gone through notice and
                                      comment and staff guidance, and that is something I am familiar
                                      with from my prior service in government as well.
                                         Mr. LUETKEMEYER. I guess you maybe answered this question
                                      here, but will you commit to issuing a final rule similar to the pru-
                                      dential regulators that clarifies the role of guidance and ensures




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                                      that enforcement actions will only be based on violations of rule or
                                      law?
                                         Mr. GENSLER. Again, sir, I need to meet with staff, understand
                                      what the SEC has done in the past on this, and whether there is
                                      an appropriate need for such new rules, as you say. But I do under-
                                      stand rules as duly operating from Congress, delegated to the agen-
                                      cies, I understand are different than guidance. But I would look to
                                      work with you and understand your concerns better.
                                         Mr. LUETKEMEYER. Very good. Thank you for that.
                                         Chairman Gensler, as you know, the Securities Act of 1933 and
                                      the Securities Exchange Act of 1934 established the ability of the
                                      SEC to accept generally accepted accounting principles (GAAP)
                                      that have been established by a private entity. While I believe that
                                      private standard-setter can help facilitate the effective accounting
                                      principles that promote transparency for investors, recent actions
                                      by the Financial Accounting Standards Board (FASB), and an over-
                                      all lack of oversight by any regulatory entity whatsoever, have
                                      raised serious concerns regarding the standard-setting process and
                                      FASB’s ability to conduct proper analysis before finalizing a stand-
                                      ard. In my opinion, since the SEC has given FASB the authority
                                      to operate as a private standard-setter, the SEC should ensure
                                      FASB is carrying out its duties in an appropriate manner.
                                         Can you broadly tell me what you think the relationship between
                                      the SEC and FASB is, and should be?
                                         Mr. GENSLER. I think Congress has been clear, as I understand
                                      it, that the securities markets benefit by disclosure, and that in-
                                      cludes accounting disclosure, and the SEC has that authority. And
                                      then through, I believe it was in the Sarbanes-Oxley Act, working
                                      with Senator Mike Oxley from your committee and Paul Sarbanes
                                      on the side, put in place exactly what you said, a provision that
                                      there could be reliance on a standard-setter meeting certain goals.
                                      But our Office of the Chief Accountant has an important role in
                                      communicating with FASB on these important accounting stand-
                                      ards, and at the SEC, our congressional system is at the top of that
                                      chain.
                                         Mr. LUETKEMEYER. My concern, quite frankly, is with their abil-
                                      ity to implement something like current expected credit losses
                                      (CECL), which they did not do any standard-setting studies about.
                                      They just arbitrarily went out there and decided, in their own wis-
                                      dom, that this was something that they should be doing.
                                         All of the other government agencies out there that affect what
                                      we do every day, how we administer the rules and regulations
                                      every day and the laws of this country, have to go through the Ad-
                                      ministrative Procedure Act. They do not.
                                         Would you support something along the line to rein them in, so
                                      to speak, so that maybe they would fall under the Administrative
                                      Procedure Act and have to do qualitative and quantitative studies
                                      before they can issue a rule or regulation that would protect the
                                      economy, protect the industry, protect the people, consumers, from
                                      a bad rule or regulation that they might implement?
                                         Mr. GENSLER. Congressman, I would like to meet with you and
                                      your staff to better understand your concerns, because as I under-
                                      stand it, what Congress decided some 20 years ago in the Sar-
                                      banes-Oxley Act was that it is best to rely [inaudible] SEC to rely




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                                      on an outside standard-setter, and that that helped sort of set them
                                      apart a bit.
                                         So, the concerns that you are speaking about, I would like to bet-
                                      ter understand, and see how we can address them as best we can.
                                         Mr. LUETKEMEYER. I thank you for your answers, sir, and I look
                                      forward to working with you on this at length. I think it is a very
                                      serious concern there that I have with regards to these folks.
                                         With that, Madam Chairwoman, I yield back. Thank you very
                                      much.
                                         Chairwoman WATERS. Thank you. The gentlewoman from New
                                      York, Mrs. Maloney, who is also the Chair of the House Committee
                                      on Oversight and Reform, is now recognized for 5 minutes.
                                         Mrs. MALONEY. Thank you, Chairwoman Waters.
                                         Chairman Gensler, it is great to have you before the committee
                                      once again, and to have you as the Chair of the SEC. I have a few
                                      questions. First, I want to ask you about a very important issue
                                      that I worked on for several years, and that is forced arbitration.
                                      A few years ago, some people were pushing public companies to in-
                                      clude forced arbitration provisions in their corporate governance
                                      documents, which would prevent their own shareholders from
                                      suing them for securities fraud in Federal court. If the SEC allowed
                                      this, it would essentially be the end of all security fraud cases in
                                      Federal court, and shareholders wouldn’t be able to hold companies
                                      accountable in court.
                                         So, I led a letter with Chairwoman Waters to then-SEC Chair-
                                      man Clayton, which was signed by every Democrat on this com-
                                      mittee, strongly opposing this move, which would reverse the Com-
                                      mission’s longstanding position that such forced arbitration provi-
                                      sions violate Federal securities law. And because this effort came
                                      so close to succeeding, I think it is very important to get you on
                                      the record on this issue.
                                         So my first question is, do you believe it would violate Federal
                                      securities law if a public company inserted a forced arbitration pro-
                                      vision into its bylaws and governance documents?
                                         Mr. GENSLER. It is really good to see you, and to work with you
                                      again.
                                         Mrs. MALONEY. Likewise.
                                         Mr. GENSLER. I think, again, I need to get more fully briefed on
                                      the law, but let me say, on the spirit and where the SEC has been,
                                      the SEC has said consistently to issuers, as I understand it, that
                                      it would be best not to put this into these corporate charters. And
                                      I think that the American public needs to be able to have redress
                                      in their courts, and that is sort of a fundamental piece, to be able
                                      to go straight to the courts. And that has been true in terms of
                                      issuers for decades, and I think that has worked well.
                                         Mrs. MALONEY. That is great to hear, and it is a very important
                                      signal to investors and the confidence in the U.S. capital markets,
                                      and I thank you for that position.
                                         Next, I want to talk to you about GameStop. In this committee’s
                                      initial hearing on the GameStop frenzy, I questioned whether our
                                      capital markets were working for all investors or just for some in-
                                      vestors, and I emphasized the need to have rules that are con-
                                      sistent, predictable, and, very importantly, enforceable.




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                                         What struck me the most about Robinhood’s behavior regarding
                                      the GameStop frenzy was the seemingly arbitrary nature of its
                                      trading faults and the lack of transparency on the front and back
                                      ends of how and why Robinhood and other broker-dealers imposed
                                      these restrictions.
                                         So, Chair Gensler, not speaking specifically to Robinhood’s situa-
                                      tion but broadly speaking, do you believe broker-dealers should im-
                                      prove their transparency with their customers about how and when
                                      they impose trading halts, and what role do you believe the SEC
                                      should play in improving these disclosures and ensuring trading
                                      halts are integrated into firms’ risk management plans?
                                         Mr. GENSLER. I think that probably what we could all agree on
                                      is that access to markets, whether you are an individual investor
                                      trading one share or a big institution, access to markets as they
                                      are moving up and down is a really critical piece of our capital
                                      markets. And what happened on January 27th and 28th was not
                                      good for millions of investors.
                                         So, the transparency you mentioned is important between
                                      broker-dealers and their customers, and we have asked, and I
                                      think Robert Cook has said already, that maybe they are looking
                                      at this too, is what is that transparency between, and under what
                                      circumstances? And do each of the broker-dealers have enough li-
                                      quidity to meet their requirements with the clearinghouse, which
                                      Michael Bodson was talking about earlier.
                                         Mrs. MALONEY. Thank you. And next, I would like to turn to the
                                      topic of corporate board diversity. Along with Chairman Meeks, I
                                      have made fighting for women a hallmark of my time in public
                                      service, fighting for equal pay, for equal work, to bring our family
                                      leave policies into the 21st Century, for Equal Right Administra-
                                      tion, and I just left a hearing on maternal Black health. Mr. Meeks
                                      and I have also strongly advocated for measures to diversify the
                                      ethnic, racial, and gender composition of corporate boards and in
                                      executive ranks, because leaders set the tone and they set the pri-
                                      orities.
                                         From your perspective, does improving diversity on corporate
                                      boards bring a material benefit to companies?
                                         Mr. GENSLER. I can speak just in terms of what we are doing at
                                      the agency, and I do believe that diverse points of view, diverse
                                      backgrounds help in decision-making, and we are leaning into that
                                      in terms of building a senior leadership at the SEC.
                                         Mrs. MALONEY. Thank you. My time has expired.
                                         Chairwoman WATERS. The gentlelady’s time has expired. The
                                      gentleman from Michigan, Mr. Huizenga, is now recognized for 5
                                      minutes.
                                         Mr. HUIZENGA. Thank you, Madam Chairwoman. And before I
                                      begin, I would like to submit for the record a letter from the Pri-
                                      vate Investor Coalition.
                                         Chairwoman WATERS. Without objection, it is so ordered.
                                         Mr. HUIZENGA. Thank you. Mr. Cook, my colleague from New
                                      York was talking a little bit about arbitration and what that would
                                      mean. And I am curious if arbitration clauses were banned in cus-
                                      tomer contracts, do you perceive potentially negative consequences
                                      on that, and what would those potentially be?




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                                         Mr. COOK. Thank you for that question, Congressman Huizenga.
                                      I believe that if the current status of these clauses requiring arbi-
                                      tration—I just want to be clear that is not something that FINRA
                                      currently imposes; that is something that happens as a matter of
                                      contract. And FINRA does not have authority right now to address
                                      that. That is something that the SEC has authority to address.
                                         Mr. HUIZENGA. No, I understand that. I understand that FINRA
                                      does provide faster, less expensive ways to resolve disputes, cor-
                                      rect?
                                         Mr. COOK. I think we work hard to administer an arbitration
                                      program that is fair for investors, that is prompt, that is—
                                         Mr. HUIZENGA. I understand. So, you are not willing to say
                                      whether there would be a negative impact on that. Okay, I am
                                      going to move on.
                                         Mr. Gensler, it’s good to have you back, and I appreciate this
                                      time. I am going to ask you a pretty quick, simple question: Is mar-
                                      ket participation akin to gambling in a casino?
                                         Mr. GENSLER. It is good to see you, and thank you for the call
                                      earlier this week. I think market participation is investing and it
                                      takes risk, and material disclosure behind that risk is important,
                                      and the cop on the beat is there to protect against fraud and ma-
                                      nipulation. So I would consider it part of that capital formation and
                                      part of risk taking.
                                         Mr. HUIZENGA. I do not want to put words in your mouth, but
                                      I do want to be clear. So, it is not like gambling in a casino?
                                         Mr. GENSLER. It is risk taking, and risk taking can be in dif-
                                      ferent forms, but I am trying to choose my words carefully. The
                                      risk in capital markets is something where Congress has said, let’s
                                      ensure that there is no fraud and manipulation in those risk-taking
                                      markets.
                                         Mr. HUIZENGA. Reclaiming my time, I understand. We have some
                                      people who are trying to portray this as literally walking in and
                                      letting chance decide whether you are going to walk out a winner
                                      or a loser. That is very different than taking a calculated risk.
                                         Very quickly, I want to touch on BDCs, and how the acquired
                                      fund fees and expenses disclosure requirements distort the oper-
                                      ating costs of those. And will the Commission prioritize trying to
                                      fix the acquired fund fees and expenses (AFFE) disclosure require-
                                      ments here very shortly?
                                         Mr. GENSLER. Again, maybe it is just because I am in my third
                                      week, and you used some letters with which I am not familiar—
                                         Mr. HUIZENGA. BDCs are business development companies.
                                         Mr. GENSLER. Oh, I’m sorry. I still need to get a briefing, and I
                                      look forward to working with you and your staff to understand that
                                      better in terms of the fee disclosure that is important to our public
                                      markets.
                                         Mr. HUIZENGA. Okay. We are happy to get you that information,
                                      and I want to continue that conversation.
                                         Earlier in the hearing, you had talked about cryptocurrencies
                                      and crypto exchanges, and you said that, ‘‘Only Congress can bring
                                      greater regulatory protection to crypto exchanges.’’ And I am curi-
                                      ous, if Congress is needed for crypto exchanges, why would it not
                                      be necessary for Congress to be involved in specific regulations
                                      when we are talking about the environment and social issues and




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                                      governance? It seems to me that those may not be appropriate just
                                      for the SEC to be doing on its own. Does it not need congressional
                                      involvement?
                                         Mr. GENSLER. I think that at the heart of our securities laws are
                                      disclosures, and from the 1930s, the SEC has had robust authority
                                      to ensure that investors have the disclosures that investors wish to
                                      have to make their investments. So in that regard, I do think that
                                      there is the authority to move forward on climate and human cap-
                                      ital and other—
                                         Mr. HUIZENGA. Reclaiming my last moments here, acting Chair
                                      Lee, at one point, implied that people attack companies that [in-
                                      audible] care about climate should not donate to Republicans and
                                      face securities liability and perhaps even SEC enforcement. I would
                                      hope that would not be the attitude of the SEC, moving forward.
                                         With that, I yield back, and I look forward to continuing the con-
                                      versation.
                                         Mr. GENSLER. Thank you.
                                         Chairwoman WATERS. Thank you very much. The gentleman
                                      from Colorado, Mr. Perlmutter, who is also the Chair of our Sub-
                                      committee on Consumer Protection and Financial Institutions, is
                                      now recognized for 5 minutes.
                                         Mr. PERLMUTTER. Thanks, Madam Chairwoman. It’s good to see
                                      all of you. I have two specific questions I want to start with. One
                                      involves delisting what would be penny stocks, if you will, and the
                                      second involves diversity and inclusion, and then I’ll get into some
                                      general questions.
                                         So, Mr. Gensler, back in 2005, in response to changing market
                                      structure and then new technology, the SEC adopted amendments
                                      to the penny stock rule that, among other things, requires the stock
                                      to have a minimum bid price of $4 a share to initially be listed on
                                      a national exchange. And in addition, the SEC has classified penny
                                      stocks as securities trading with a value of less than $5.
                                         GameStop’s stock traded under $4 back in 2019, and then hov-
                                      ered between $4 and $5 throughout 2020, until the end of 2020,
                                      when it began to tick up and then went skyrocketing starting in
                                      mid-January.
                                         In Colorado, we used to be the penny stock capital of the world,
                                      and a lot of abuses occurred during that timeframe. Would you
                                      agree with my concerns about the potential to manipulate low-
                                      priced stocks?
                                         Mr. GENSLER. Yes. There has been a long history. The lower the
                                      price, the lower the aggregate market value. Fraudsters find that
                                      more appealing. And, in fact, earlier this year the SEC took actions
                                      to delist, I think it was about 30 entities that fell into these various
                                      categories.
                                         Mr. PERLMUTTER. Okay. With so many more retail investors com-
                                      ing to the market through mass platforms like Reddit and other
                                      ways, do you think it would be timely for the Commission to exam-
                                      ine whether the rules around penny stocks, including exchange list-
                                      ing standards for these stocks, need to be updated?
                                         Mr. GENSLER. I think you raise a very good set of concerns, and
                                      now I have some more work to ask the staff to look at just what
                                      are the current roles, how did they affect what happened in the




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                                      spring or late winter, and even how it relates to broader subjects
                                      in the markets.
                                         Mr. PERLMUTTER. Okay. Thanks. My second question primarily
                                      goes to you, Mr. Gensler, and it is a follow-up from Mrs. Maloney’s
                                      diversity questions. It is a question that was raised to me by a
                                      friend of mine, so I am going to ask it, just as he presented it to
                                      me.
                                         When you were Chair of the CFTC, you did not have any Black
                                      division directors at that agency. Will you commit to doing better
                                      on this point in your current role at the SEC?
                                         Mr. GENSLER. Well, not to fuss with your friend, but I actually
                                      hired the first Chief Operating Officer who is African American in
                                      the history of the CFTC. He has done just a terrific job, and he is
                                      still there, by the way.
                                         But yes, the answer is yes, sir.
                                         Mr. PERLMUTTER. Okay. Thank you. To all of you, I am perplexed
                                      by this whole GameStop thing. In 2019 and 2020, it was at $4. On
                                      January 7th, it was at $17, on January 27th, it was at $347, on
                                      February 9th, it was at $50, and now it is bouncing around at
                                      around $162.
                                         So, I am concerned about the mass platform and the potential for
                                      hyping a stock in that way. I am concerned about the unfair advan-
                                      tage in order flow. And I am concerned about the potential harm
                                      from short sales.
                                         Mr. Cook, I will start with you. If you were to look at those three
                                      things, which one bothers you the most, or do any of them?
                                         Mr. COOK. I think those are all important areas of concern. We
                                      are looking at all of those areas. The one that I think is most novel
                                      at the moment and requires our real attention, and we look for-
                                      ward to working with the SEC on this, is the expanded use of on-
                                      line trading platforms, which, again, can really create better access
                                      to our markets and be very good for investors. But how do we make
                                      sure that, at the same time, they are being protected and that we
                                      are making sure that, especially as they may go towards complex
                                      products, that that is being properly overseen.
                                         Mr. PERLMUTTER. I would like to talk about the dropping down
                                      to T1. Do you think that takes some of the potential for fraud out
                                      of the system?
                                         Mr. COOK. Yes. I think that while we fully support reducing the
                                      settlement cycle, I am not sure that, in and of itself, is going to ad-
                                      dress those types of concerns that you raised. I just think—
                                         Mr. PERLMUTTER. Okay. Thank you.
                                         Madam Chairwoman, I yield back.
                                         Chairwoman WATERS. Thank you. The gentleman from Ken-
                                      tucky, Mr. Barr, is now recognized for 5 minutes.
                                         Mr. BARR. Thank you, Madam Chairwoman, and I appreciate
                                      this hearing, especially these witnesses, whom I think bring a
                                      great deal of expertise to the topic.
                                         Let me start with Mr. Bodson, on GameStop, specifically. As you
                                      noted in your testimony, the temporary restrictions on trading by
                                      Robinhood and others were due to the additional collateral required
                                      by the DTCC, but those were extraordinary circumstances in an ex-
                                      ceptionally volatile market. For the sake of retail investors, of




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                                      course, we do not want to see, and generally speaking, halts in
                                      trading to happen frequently or ever again.
                                         I do appreciate your testimony that moving to an accelerated set-
                                      tlement could reduce margin requirements, and specifically, value
                                      at risk (VaR) charges up to 40 percent if we go to T+1. But can
                                      you describe how DTCC communicates with brokers regarding
                                      their collateral requirements, and specifically, are there ways to
                                      improve that communication, and otherwise increase transparency
                                      to mitigate the risk of repeating this kind of surprise margin call
                                      and what happened in January?
                                         Mr. BODSON. Thank you, Congressman. Our process for com-
                                      puting the margin and communicating such are as laid out in our
                                      rules. We conclude the market formula itself—there are margin
                                      guides. We have a form that they can use to estimate their margin.
                                         The calculation works overnight. Every day, it is run at the end
                                      of the trading day. It takes into consideration market volatility. It
                                      looks at specific security volatility, concentration of activity in cer-
                                      tain securities. So, what you saw in GameStop was almost the per-
                                      fect storm of going through these retail platforms where a lot of
                                      buy activity, massive buy activity, 130 times normal buy, and we
                                      saw it weeks before, in stocks that were moving around anywhere
                                      from 100 to 300 percent a day, and just highly volatile over this
                                      period of time.
                                         So, the margin calculation reflects the risk that the firm is pre-
                                      senting to us. That calculation is done overnight, and it is commu-
                                      nicated the next day, automatically, by email generation. In the
                                      case of Robinhood, there was an additional charge, a capital pre-
                                      mium, which was as a result of the fact that their margin require-
                                      ment was in excess of their net capital, indicating that they were
                                      taking on more financial risk than we felt would be prudent. That
                                      charge was later waived, but the core margin charge of a billion-
                                      four, again, it is articulated in our rules, we give the client the
                                      tools.
                                         Transparency is something that we will always try to get better
                                      at, but we do believe that we provide those tools.
                                         Mr. BARR. Thank you very much. Moving to Chairman Gensler,
                                      congratulations on your confirmation. I look forward to working
                                      with you, sir. Let me just, briefly, this is a question that Mr.
                                      Luetkemeyer and also Mr. Lucas asked, and kind of bring them to-
                                      gether, the regulation by enforcement question from Mr. Luetke-
                                      meyer, and the ESG disclosure question from Mr. Lucas. We don’t
                                      want to see regulation by enforcement. We want to see notice-and-
                                      comment rulemaking wherever possible.
                                         On March 4th, the SEC announced its new Enforcement Task
                                      Force focused on climate, as was discussed earlier, in ESG issues.
                                      But it wasn’t until March 15th that it issued a request for public
                                      comment, and the SEC has not completed its recently-announced
                                      review of the 2010 guidance.
                                         Chairman Gensler, can you explain the sequence? In other
                                      words, why is the announcement of a new focus on enforcement
                                      coming before market participants know the rules, and will you
                                      commit to adhering to requirements under the Administrative Pro-
                                      cedures Act in completing a notice-and-comment rulemaking prior
                                      to engagement in any enforcement actions?




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                                         Mr. GENSLER. I am committed to complying with the Administra-
                                      tive Procedure Act on rulemaking, and I said, in this hearing and
                                      in my confirmation process, I think the market investors do want
                                      to bring some consistency and comparability to climate disclosure,
                                      human capital disclosure, and moving out and getting that com-
                                      ment.
                                         But there are rules of the road that are already in place—the
                                      guidance from 2010, our overall securities laws—and we are going
                                      to be vigorously enforcing the laws and rules that are in place, as
                                      they are in place. But yes, I am committed to using notice and com-
                                      ment for new rules, but we still have to enforce the old guidance
                                      and old rules as vigorously as you would want us to.
                                         Mr. BARR. Thank you, and I don’t have time for this question,
                                      but I am going to be talking to you about horse racing, Chairman
                                      Gensler. I represent the horse industry in Kentucky, and we have
                                      a Reg A problem. We want to democratize ownership of securities
                                      in racehorses, and I look forward to working with you and the
                                      Commission on that issue.
                                         Mr. GENSLER. I look forward to that, a different issue than
                                      GameStop.
                                         Mr. BARR. That is right, and we just finished the Kentucky
                                      Derby, so it is a timely issue.
                                         I yield back.
                                         Chairwoman WATERS. Thank you very much. The gentleman
                                      from Connecticut, Mr. Himes, who is also the Chair of our Sub-
                                      committee on National Security, International Development and
                                      Monetary Policy, is now recognized for 5 minutes.
                                         Mr. HIMES. Thank you, Madam Chairwoman, and thank you to
                                      our witnesses. It is a real pleasure for me to see all three of you
                                      before the committee.
                                         Chair Gensler and Mr. Cook, I am glad you are our cops on the
                                      beat. You have, in your careers and today, distinguished yourselves
                                      for your balanced approach and really intelligent approach to the
                                      issues.
                                         And Mr. Bodson, it is great to see you. Kudos to you. When the
                                      chant from both ends of the political spectrum was, ‘‘Let them
                                      trade,’’ kudos to you for pointing out that the trading stops were
                                      actually part of the system architecture designed to keep disaster
                                      and catastrophe from happening. We do not let airplanes fly in hor-
                                      rible thunderstorms, and there will be times when we need to just
                                      stop and pause the markets for prudential reasons.
                                         I want to reflect on a lot of thoughts on GameStop. There has
                                      been a lot said. And, as usual, we have sort of devolved into a little
                                      of a silly, partisan conversation on the topic. We ought to be able
                                      to agree, as I think we do, that investing is a critical part of asset
                                      accumulation for American families. We ought to be able to agree—
                                      I have a little problem with my good friend, Mr. Huizenga, on
                                      this—that investing done irresponsibly—that is to say, without re-
                                      search, without thought, around companies that you didn’t know
                                      about—will, in fact, result in a return that begins to look a little
                                      bit like the return you will assuredly receive in a casino or on the
                                      horse track.
                                         So, I think our objective is how do we maximize the former—
                                      good, smart investing—and maybe discourage the latter, that is to




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                                      say, investing that actually ends up hurting retail investors. And
                                      the facts are pretty clear on what behavior leads to them being
                                      hurt.
                                         This is a question for Mr. Gensler and Mr. Cook. Having really
                                      looked at what happened with GameStop, I am satisfied that the
                                      market will fix itself in the sense that when we do return to a bear
                                      market, some people are going to learn some fairly expensive les-
                                      sons about the fact that the stock market is a risky place to put
                                      your money. And that will all be good.
                                         Where I get concerned, though, is when you start talking about
                                      a lot of complexity, and, in particular, leverage, margin, option
                                      strategies that I am really pretty certain that most of us, much less
                                      the average retail investors, don’t understand.
                                         My question, I guess for Mr. Cook and Mr. Gensler, is, is there
                                      a point where you are employing leverage or synthetic leverage
                                      through margin or through derivatives that we should begin to
                                      think about restricting the ability of retail investors to employ
                                      those strategies? I do not need to remind the committee that we
                                      all know the story of Mr. Alex Kearns, who took his own life be-
                                      cause he traded in some fairly complicated option strategies and
                                      discovered that he had created a liability for himself that he had
                                      not anticipated.
                                         So my question is, is there a line around leverage or complexity,
                                      where we ought to not let the market teach touch lessons?
                                         Mr. GENSLER. I will go first, and I am sure Robert will want to
                                      add something. I do think that our core mission is protecting inves-
                                      tors, and for a long time we have said to open an options account,
                                      there is more discussion between a broker and that customer. Suit-
                                      ability used to be the word, and if I have the word wrong, I apolo-
                                      gize, in my third week. But basically, they are taking more risk.
                                         I would also add, in terms of these apps, these applications that
                                      have made it easier to open accounts, and making it easier, we
                                      have lost that human in the middle saying, ‘‘Is this appropriate?
                                      Is this risk appropriate?’’ The thing that is like those buildings in
                                      Las Vegas and Atlantic City is that through gamification, you are
                                      using psychological prompts and behavioral prompts to get inves-
                                      tors to trade more, and trading more, economic studies show,
                                      doesn’t necessarily mean getting better returns.
                                         I wanted to add that, if I could, Congressman Himes, but I know
                                      Robert wants to—
                                         Mr. HIMES. Yes, thank you. Mr. Cook, do you have anything to
                                      add to that?
                                         Mr. COOK. Thank you for that question. I do think it is a matter
                                      of striking the right balance, because, as you say, there are lots of
                                      risks that people may be taking on, it is two complex products,
                                      margin, and we do have rules around some of that. There are lim-
                                      its on how much margin you can take. There are special require-
                                      ments to open up an options account.
                                         But I think many of these rules were developed at a time when
                                      the only way you would do that was if you had a broker or an in-
                                      vestment advisor, someone advising you and understanding the
                                      risks that might be appropriate for you. And so in light of that, in
                                      light of the fact that many of these same products are now avail-
                                      able directly, without some intermediation, we need to think about




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                                      whether the existing rules should reflect the change in the tech-
                                      nology.
                                         Mr. HIMES. Thank you very much. I yield back the balance of my
                                      time.
                                         Chairwoman WATERS. Thank you very much. The gentleman
                                      from Texas, Mr. Williams, is now recognized for 5 minutes.
                                         Mr. WILLIAMS OF TEXAS. Thank you, Madam Chairwoman. This
                                      is the third hearing on the GameStop saga, and one of the over-
                                      arching themes has been protecting retail investors. I am com-
                                      pletely in agreement with the need to do this and to ensure that
                                      everyone, no matter how much money they have invested, is com-
                                      peting on an equal playing field.
                                         However, one of the positive proposals that is being discussed to
                                      pay for some of the Democrats’ progressive priorities would be det-
                                      rimental to the investors we are trying to protect. Of course, I am
                                      speaking of the financial transaction tax (FTT). Contrary to what
                                      some on the left may want you to think, implementing this new tax
                                      would not only affect hedge funds and wealthy individuals, but
                                      rather anyone with a 401(k) or who opened their own brokerage ac-
                                      count to trade stocks in their free time.
                                         So, Mr. Bodson, can you give us your thoughts on the most likely
                                      changes we will see if a financial transaction tax is imposed?
                                         Mr. BODSON. Thank you, Congressman. Again, I am not going to
                                      claim expertise in FTT, but the studies we have seen show mixed
                                      results. In some instances, they did slow down trading and it did
                                      dampen levels of market activity. Hong Kong is the contrary one,
                                      but again, Hong Kong has no income tax,and no capital gains tax,
                                      so it’s a very different set of circumstances.
                                         And the question you raised is exactly how does the tax get paid,
                                      who ends up paying it? And in many cases it will flow, as you said,
                                      right back to the end investor, so the retail investor, the pension
                                      fund, the mutual funds, and if that is the case, then that would ob-
                                      viously impact returns natively, it would impact the wealth cre-
                                      ation that you would want to see in the stock market.
                                         Mr. WILLIAMS OF TEXAS. Okay. Raising taxes does not help, I
                                      will tell you.
                                         Chairman Gensler, first of all, congratulations to you, and I want
                                      to welcome you to your first hearing before this committee as the
                                      Chair of the SEC. I hope we will have a productive working rela-
                                      tionship as you take on this important role. And I wanted to start
                                      by asking you about transparency, we have used that today, during
                                      the rulemaking process. For market participants, certainty is the
                                      key, and there needs to be a clear roadmap on what the SEC is
                                      focusing their attention on.
                                         So, Mr. Chairman, what steps do you plan on taking to ensure
                                      the public is informed about the priorities and regulatory agenda
                                      that the SEC is undertaking during your tenure?
                                         Mr. GENSLER. I look forward to working with you, Congressman
                                      Williams, as well. I think that the transparency of our regulatory
                                      agenda, along with the rest of the Administration—we would be
                                      publishing, I think it is twice a year, a unified agenda that is re-
                                      quired under the law to publish our agenda.




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                                         But it is through hearings like this and talking with the public
                                      more broadly about the agenda, about disclosure, market structure,
                                      and ensuring that the markets work for working families.
                                         Mr. WILLIAMS OF TEXAS. Thank you for that. Our capital mar-
                                      kets are extremely regulated, and no single entity, whether it be
                                      exchange or broker-dealer or SRO, acts unilaterally without any
                                      oversight. As we are discussing broad changes to our capital mar-
                                      kets we must first ensure we all have an understanding about how
                                      all of the different players interact within the ecosystem.
                                         So, Mr. Bodson, can you discuss quickly how the DTCC commu-
                                      nicates and it is overseen by the SEC as you are setting margin
                                      requirements, as well as how you give notice to your clearinghouse
                                      members?
                                         Mr. BODSON. Thank you, Congressman. All of our margin re-
                                      quirements are reviewed and approved by the SEC. They are sub-
                                      ject to public commentary. So if we are introducing any change to
                                      the margin rules, there will be a period of time where other mem-
                                      bers, or anybody else who is interested, can make a comment, and
                                      then the SEC approves it. The models are subject to very vigorous
                                      reviews internally by our risk department, and our audit depart-
                                      ment. They are reviewed by the board. So, we have a very rigorous
                                      governance and regulatory oversight of all of our models.
                                         Mr. WILLIAMS OF TEXAS. I want to thank all of you for partici-
                                      pating, and Madam Chairwoman, I yield back.
                                         Chairwoman WATERS. Thank you very much. The gentleman
                                      from New York, Mr. Meeks, who is also the Chair of the House
                                      Committee on Foreign Affairs, is now recognized for 5 minutes.
                                         Mr. MEEKS. Thank you, Madam Chairwoman. Thank you very
                                      much for this timely hearing, and I want to thank our witnesses
                                      today.
                                         Chair Gensler, during these market volatility hearings, ensuring
                                      that markets are fair and transparent so that investors are well-
                                      informed has been a focus. Transparency is particularly important
                                      where investors are seeking information on the demographic make-
                                      up of company boards. In 2009, the SEC adopted its current board
                                      diversity rule to shine light on the demographics of corporate
                                      boards. However, the results of the current rule have been vague
                                      and abstract disclosures, as indicated by former Commissioner Luis
                                      Aguilar and former Chair Mary Jo White.
                                         In fact, an advisory committee at the SEC recommended, in
                                      2017, more specific disclosures around race, gender, and ethnicity,
                                      because of the current rule’s deficiencies. Those recommendations
                                      were not adopted by your predecessor. So my question to you is,
                                      first, can you commit today to revisiting the SEC’s board diversity
                                      rule and requiring more specific disclosures around race, gender,
                                      and ethnicity, as recommended by the SEC’s Advisory Committee
                                      on Small and Emerging Companies in 2017?
                                         Mr. GENSLER. Thank you, Congressman, and I look forward to
                                      working with you, or should I call you Mr. Chairman? And I have
                                      asked staff to make recommendations on how we can do what you
                                      have suggested, in terms of that investors increasingly want to un-
                                      derstand these particular issues around diversity, and more broad-
                                      ly, human capital, both. And it is driven by what investors want




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                                      to see, and I have asked staff to try to serve up some suggestions
                                      on this.
                                         Mr. MEEKS. Thank you. I would hope that you could also think
                                      of maybe other initiatives that you can consider or encourage oth-
                                      ers within the department to have greater diversity in both cor-
                                      porate America and at the SEC itself. I do not know if you have
                                      any additional thoughts on that?
                                         Mr. GENSLER. We have 4,400 people at the agency, but we also
                                      have a number of outside advisory groups, and as those terms roll,
                                      they are on rolling terms and everything, we have also asked the
                                      staff to look to ensure that those committees reflect the great diver-
                                      sity in our nation.
                                         Mr. MEEKS. Thank you. Thank you for that, and I look forward
                                      to working with you on this particular issue.
                                         Let me go to Mr. Cook quickly with the time I have left. Mr.
                                      Cook, this committee has examined inherent conflicts of interest
                                      with payment for order flows that can be difficult to mitigate and
                                      adequately protect investors. For example, brokers can often be
                                      incentivized to route customer orders to a higher submitter instead
                                      of to another training venue or other better prices.
                                         Despite disclosures, investors may not entirely be aware of how
                                      payment for order flow affect their pricing, or whether they are get-
                                      ting the best execution. FINRA requires that any transaction
                                      should be bought and sold in a market in which the resulting price
                                      to the customer is as favorable as possible under the market condi-
                                      tions.
                                         So, Mr. Cook, how can FINRA ensure that firms are always
                                      meeting their best-execution obligations to their customers when
                                      the firm uses payment for order flow?
                                         Mr. COOK. Thank you for that question, Congressman. You are
                                      absolutely right. Our rules do require fast execution by both the
                                      firm that is routing the order and by the firm that is executing the
                                      order, and payment for order flow does create a conflict that does
                                      complicate that, because, of course, we have to evaluate, is the
                                      order flow being routed because of the payment or because that is
                                      where the best execution is available?
                                         And that is an analysis that we work on every day, through our
                                      oversight and surveillance, through our examinations, and through
                                      guidance. We look forward to working with Chair Gensler, who has
                                      indicated he is going to be asking his staff to take a fresh look at
                                      this, because I think fundamentally the question is, is that conflict
                                      that you are describing adequately addressed through disclosure?
                                      And also, what disclosures are retail investors really getting, and
                                      it is something that they understand? I think many investors really
                                      don’t understand these aspects of the market. We need to think
                                      about, are there better ways we can help make sure they under-
                                      stand how their orders are being routed?
                                         Mr. MEEKS. Thank you very much. I see my time is about to ex-
                                      pire. Thank you, Madam Chairwoman, for holding this hearing.
                                         Chairwoman WATERS. You are so welcome. The gentleman from
                                      Arkansas, Mr. Hill, is now recognized for 5 minutes.
                                         [No response.]
                                         Chairwoman WATERS. Mr. Hill? If Mr. Hill is not on the plat-
                                      form—




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                                         Mr. HILL. I’m sorry, Madam Chairwoman.
                                         Chairwoman WATERS. Are you there?
                                         Mr. HILL. Yes, I am. Thank you.
                                         Chairwoman WATERS. You are recognized for 5 minutes.
                                         Mr. HILL. Thank you so much. This is a good hearing. I like part
                                      three as much as I liked parts one and two. Thank you, Madam
                                      Chairwoman. Thank you for our panelists. And let me start with
                                      Robert Cook.
                                         Mr. Cook, in the first two hearings we talked a lot about
                                      Robinhood and other app-based broker-dealers versus a traditional
                                      retail-facing broker-dealer, and it was clear to me that customer
                                      service access for clients of Robinhood seemed to be lacking. I
                                      talked a little bit about sales practices in the area of small-dollar
                                      stocks or options. Have you looked into this, and what are your
                                      views here, Mr. Cook?
                                         Mr. COOK. Thank you, Congressman Hill, for that question.
                                      Without speaking about any particular firm, it is an area that we
                                      are taking a look at. You mentioned customer service. We do expect
                                      firms to have sufficient infrastructure to comply with our obligation
                                      that they capture knowledge and respond to customer complaints.
                                      We do not particularly require, for example, a live customer service
                                      agent. We provide flexibility for how that is done.
                                         But, basically, traditionally it wasn’t thought necessary to regu-
                                      late how firms provide customer service, and the expectation was
                                      that they knew how to be responsive to their customers without
                                      regulators telling them how to do so. But the financial services sec-
                                      tor is evolving, as you know, just like the rest of the world, and
                                      commerce online, and lots of businesses do not have 800 numbers.
                                         So as we work with the SEC to review these events, that is one
                                      of the things we will consider, whether there might be additional
                                      guidance moving forward about kind of what the minimum levels
                                      of support customers might need.
                                         Mr. HILL. Thank you for that. Chairman Gensler, congratula-
                                      tions. We are delighted to have you back in the regulatory leader-
                                      ship space. My question for you, sir, is, are you familiar with the
                                      Task Force on Climate-Related Disclosures that was led by former
                                      Mayor Mike Bloomberg?
                                         Mr. GENSLER. Yes, sir, I am. It is good to see you again.
                                         Mr. HILL. My pleasure. Have you read that yet or had a chance
                                      to study the sort of executive summary of it?
                                         Mr. GENSLER. I had an opportunity to take a look at it during
                                      my confirmation process, but I have yet to sort of dig into it with
                                      the career staff at the SEC.
                                         Mr. HILL. Right. I noted in your comments in your confirmation
                                      hearing before the Senate Banking Committee that you believe
                                      that companies obviously should be required to disclose material
                                      things, and you made a statement that companies have a legal obli-
                                      gation to determine what is material. Do you think companies have
                                      any obligation to disclosure nonmaterial risks, regarding any topic?
                                         Mr. GENSLER. I think that the heart of our disclosure regimes,
                                      over multiple decades, is that which investors are looking for, in-
                                      vestors to make their decisions. And we have regimes from ac-
                                      counting regimes, management discussion and analysis, employ-




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                                      ment compensation, that those regimes are that which investors
                                      needs to pick up on and make their decisions on.
                                        Mr. HILL. But you believe that public companies should be based
                                      on materiality in their disclosures?
                                        Mr. GENSLER. There is a materiality component of disclosures,
                                      but there are also individual disclosures that are often very small
                                      but still can have a really meaningful part in investment decisions.
                                        Mr. HILL. Do you think that the principles for effective, meaning-
                                      ful disclosures are that they are reliable, verifiable, and objective?
                                        Mr. GENSLER. You have picked very specific words, sir.
                                        Mr. HILL. Because Mike Bloomberg picked the words. I am going
                                      by what Mike Bloomberg is suggesting. He says that disclosures
                                      have to be reliable, verifiable, and objective. I wondered if you
                                      agreed with that?
                                        Mr. GENSLER. I think what we are going to be trying to do is to
                                      go out for public comment, get the best thoughts from the public
                                      on climate risk disclosure, human capital, diversity that we talked
                                      about here, and get that which the investing public wants for their
                                      decision-making to bring consistency and comparability in these
                                      various regimes as they make their decisions.
                                        So, I don’t want to get caught up in Mike Bloomberg’s words. I
                                      think the public will have a chance to comment, and I think you
                                      would probably not want me to just pick one person’s words.
                                        Mr. HILL. In a cost-benefit analysis, do you believe that anything
                                      that is required, required disclosures, should be subject to the Com-
                                      mission’s cost-benefit analysis?
                                        Mr. GENSLER. I am very proud this week that we hired a world-
                                      class financial economist, Jessica Wachter, to lead our Division of
                                      Economic and Risk Analysis. Those 160 people are going to be inte-
                                      grated from the design phase all along in terms of doing rigorous
                                      economic analysis.
                                        Mr. HILL. Thank you, Madam Chairwoman. I yield back.
                                        Chairwoman WATERS. Thank you very much. The gentleman
                                      from Illinois, Mr. Foster, is now recognized for 5 minutes.
                                        Mr. FOSTER. Thank you, Madam Chairwoman, and to our wit-
                                      nesses. You are now going to be subject to yet another question on
                                      horse racing, for Mr. Cook and Chair Gensler, but this one will be
                                      about transparency in retail trade execution quality in payment for
                                      order flow.
                                        Retail investors don’t care directly about payment for order flow.
                                      What they really care about are their total trading costs, how the
                                      price that they got for the trades that they completed on their trad-
                                      ing app compares to a fair price that they—
                                        Mr. HILL. No. My—
                                        Mr. FOSTER. Careful, French. Anyway, so what they really care
                                      about is how the price they got compares to the price they should
                                      have gotten, or should have gotten on some competing end. The big
                                      players, and some retail investors, analyze this by holding horse
                                      races between different order execution firms, and small players,
                                      retail traders, can’t do this. They are simply told that they paid no
                                      fees but they can’t really compare the execution quality. To do that,
                                      they need some sort of reference price to know how the trades that
                                      they completed compared to some reference price that presumably




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                                      could be based on the National Best Bid and Offer (NBBO) or the
                                      Consolidated Audit Trail (CAT), or something similar.
                                         Could you comment on the feasibility of providing retail investors
                                      some estimate of the quality of their order execution, so that they
                                      can use that to choose the app that works best for them in the
                                      items that they actually trade?
                                         Mr. GENSLER. I look forward to working with you, and it is good
                                      to see you again, Congressman.
                                         I think that you have put your finger on it. There is an inherent
                                      conflict. If a broker has arrangements and has two or three sole-
                                      source arrangements on payment for order flow as to whether that
                                      payment for order flow is really getting best execution, or as you
                                      say, a horse race. Competition is a really good thing in markets
                                      and bringing market efficiency. And these are not free apps. They
                                      are just zero-commission apps. The cost is inside the order execu-
                                      tion. And that is what I have asked staff to really take a look at
                                      and think about our overall market structure, because it is not just
                                      payment for order flow. It is a lot of other pieces—wholesalers have
                                      about 37, 38 percent of the market now, which means that 38 per-
                                      cent of the market is not going to the markets like the New York
                                      Stock Exchange or NASDAQ, and not even going to regulated mar-
                                      kets like alternative trading systems. So, looking at the overall—
                                         Mr. FOSTER. All of that information, I believe, is present on the
                                      Consolidated Audit Trail, correct? So what I am thinking about is
                                      just some algorithm that runs on the record of completed trades,
                                      and some time window around when the app claimed to have exe-
                                      cuted the trade, and then say what would a fair price have been,
                                      and report that back to the user, compared to the price that they
                                      got on the trade they executed, none of all fees and everything else.
                                         Mr. GENSLER. I look forward to working with you and your staff
                                      to understand the specifics of what you are asking. There is some
                                      disclosure on a quarterly basis under SEC rules already, but you
                                      are talking about more like maybe daily or trade by trade. I look
                                      forward to understanding—
                                         Mr. FOSTER. Trade by trade—they could collect those statistics
                                      over the course of months or years, on the timescale that they
                                      could realistically transition to a better app, and they may find out
                                      what the institutional investors find out, that one order execution
                                      firm works well for very liquid, high-volume securities, and another
                                      one is best for options, and so on. And so, they could have access
                                      to that sort of information.
                                         Mr. GENSLER. I think the question you raised at the center of it
                                      is disclosure, even if it is more specific disclosure, how does that
                                      work in the market structure, and do we somehow get best execu-
                                      tion for a customer on one app, and it is even one app that is sort
                                      of promoting more activity through gamification, and so forth.
                                         Mr. FOSTER. Or not even that. Actually, Mr. Cook, do you have
                                      any comments on the feasibility of this?
                                         Mr. COOK. Yes, I think it is a very interesting idea. I think what
                                      you are raising is the point that would require us to think about
                                      what is the right benchmark, how do we ensure consistency in
                                      measurement against that benchmark, and then, how do we get
                                      that information to the customer?




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                                         I think a lot of the data is there. There are the Rule 606 reports
                                      that Chair Gensler just mentioned. But I think to get to what you
                                      are talking about would probably require some more reporting,
                                      maybe even more reporting of information into CAT if that was to
                                      be done by a regulator. You could imagine this process being done
                                      either by the firms themselves or through a centralized process.
                                         But I think it is a very interesting idea, and we welcome the
                                      chance to talk further with you about it.
                                         Mr. FOSTER. Although it would be necessary as an agreement on
                                      what the algorithm you are running in the time window to estab-
                                      lish the reference price, and it doesn’t have to be the best algo-
                                      rithm. It has to be a standard one that pretty well reflects the price
                                      that they should have gotten and allows an apples-to-apples com-
                                      parison of the apps.
                                         Chairwoman WATERS. Thank you. The gentleman’s time has ex-
                                      pired. The gentleman from Georgia, Mr. Loudermilk, is now recog-
                                      nized for 5 minutes.
                                         Mr. LOUDERMILK. Thank you, Madam Chairwoman. Chairman
                                      Gensler, I would like to switch topics a little bit with you and dis-
                                      cuss the SEC’s Consolidated Audit Trail. When I was in the mili-
                                      tary, I was in a position in Intelligence where I was responsible for
                                      protecting a lot of highly-sensitive data. And we had one principle
                                      that we lived by, and that principle was that you don’t have to pro-
                                      tect what you don’t have. And if you don’t absolutely need some-
                                      thing, especially if you have access to get it by other means, do not
                                      keep it. Now, that is a basic rule of cybersecurity that you can’t dis-
                                      close something if you don’t actually have it.
                                         As you know, the Consolidated Audit Trail is expected to collect
                                      60 billion records every day of trading in the equities and options
                                      market. In July of next year, brokers will be required to report the
                                      personal identifiable information (PII) of every retail investor to
                                      the Consolidated Audit Trail.
                                         While there are certainly times when the SEC needs to access in-
                                      vestor data, this massive database will be a major target for cyber
                                      criminals. That is why I proposed legislation that would require the
                                      SEC to instead obtain this data by requesting it from the broker,
                                      and make sure the SEC is able to quickly access the data it needs.
                                      Brokers would have to provide that data to the SEC within 24
                                      hours.
                                         So, Chairman Gensler, a 2018 poll indicate that 89 percent—89
                                      percent—of retail investors opposed having their personal data col-
                                      lected in the Consolidated Audit Trail, and that is why I proposed
                                      decentralizing this data across thousands of different brokerage
                                      firms instead of just one giant database, which, when it is all con-
                                      solidated, it is a primary target.
                                         My question is, will you take action to protect the investors’ sen-
                                      sitive personal data?
                                         Mr. GENSLER. Congressman, I thank you for asking that, and the
                                      SEC is committed to protecting data. I think also, just as an up-
                                      date, and I believe this was late last year under Chairman Clay-
                                      ton’s leadership at the SEC, the SEC passed some updates to the
                                      Consolidated Audit Trail provision that a lot of that personal infor-
                                      mation that was going to be collected no longer will—people’s birth-
                                      days, people’s Social Security numbers, and the like. And it might




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                                      be that Mr. Cook has more details, because it is really under
                                      FINRA that the Consolidated Audit Trail project is being put to-
                                      gether.
                                         But I concur. I think a lot of that personal information is now
                                      not going to be collected, sir.
                                         Mr. LOUDERMILK. That is a good start, but again, the basics of
                                      cybersecurity and protecting data is, if you have access to get that
                                      data somewhere—and data is always more secure when it is dis-
                                      persed in multiple locations. That is why a lot of companies are
                                      going to new technologies, the blockchain technology, which dis-
                                      perses that data. It is much more protected than when it is central-
                                      ized. And if you don’t have PII, if you have a certain amount of in-
                                      formation that can close the loop from other information, it puts a
                                      lot of people at risk.
                                         And so, I think it is vitally important that we protect investors’
                                      data from unnecessary risk, and I hope that you will make an ef-
                                      fort to address this, to make sure that people’s information is pro-
                                      tected, because, as we know, the Federal Government has been
                                      shown to be one of the targets, and has disclosed a lot of informa-
                                      tion in the past.
                                         On another topic, as I stated in the first hearing on the
                                      GameStop issue of February, it is unfortunate that some of my col-
                                      leagues are using this issue to call for a laundry list of new regula-
                                      tions. But beyond just calling for the new regulations, they are ac-
                                      tually proposing them in this hearing. Many of these proposals are
                                      actually solutions in search of a problem.
                                         So, Mr. Cook, if Congress was to ban payment for order flow,
                                      what effect would that have on the availability of commission-free
                                      trading for the everyday investor?
                                         Mr. COOK. Thank you for that question, sir. I think a ban on pay-
                                      ment for order flow—the impact would vary significantly across dif-
                                      ferent firms, based on their business models. There are some firms
                                      who don’t accept payment for order flow now and still charge zero
                                      commissions. But there are others who rely heavily on it, and one
                                      of the things to think about, if you are thinking about banning pay-
                                      ment for order flow, would be what would be the pass-through ef-
                                      fects on investors?
                                         Payment for order flow also does have some advantages that
                                      have been identified by the SEC in the past, including the potential
                                      for guaranteed execution with some price improvement, or prompt
                                      execution. But I think this is a very complicated area. I think if the
                                      Congress and the SEC were to think about banning it, we would
                                      have to think about all of the knock-on effects throughout the mar-
                                      ket structure system.
                                         Mr. LOUDERMILK. Thank you for that.
                                         Chairwoman WATERS. Thank you very much. The gentleman
                                      from California, Mr. Vargas, is now recognized for 5 minutes.
                                         Mr. VARGAS. Thank you very much, Madam Chairwoman. I want
                                      to thank you again for holding not only this hearing but the two
                                      previous hearings. I think it was very important for us to really
                                      take a look at what happened at GameStop. The only thing I would
                                      ask, Madam Chairwoman, is please don’t scare Mr. Hill again. He
                                      seemed to be very frightened at some point, and I would just ask
                                      you to be a little more delicate with him.




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                                         Chairwoman WATERS. I assure you it was not me. Thank you.
                                         [laughter]
                                         Mr. VARGAS. He is a good friend to many of us, so please—I
                                      know; I am just teasing.
                                         I do want to thank the witnesses for being here. Again, I appre-
                                      ciate it very much. I was going to ask about two things, the short-
                                      ening of the settlement cycle, the T1, and really if their savings are
                                      40 percent, and also about market concentration. However, Mr.
                                      Lucas first opened the door to ESG, and then Mr. Huizenga kind
                                      of kicked it open, and then, of course, Mr. Hill smashed it open.
                                      I have to say that I am very interested in ESG myself, and I want
                                      to ask a few questions about that.
                                         Chair Gensler, I don’t want to put words in your mouth. I noticed
                                      that others tried and they weren’t very successful, so I am not
                                      going to do that. But I do want to say this: A very wise man once
                                      said, ‘‘Transparency is at the heart of efficient markets.’’ And the
                                      same very wise man said, ‘‘At the heart of our laws are disclo-
                                      sures.’’ Even though you have only been there for 3 weeks, Chair
                                      Gensler, I think you know the man who said that. Of course, you
                                      just did, a little while ago.
                                         I have a bill, H.R. 1187, which passed out of the committee, and
                                      among other things, it would establish a sustainable financial advi-
                                      sory committee to communicate with interest groups and individ-
                                      uals regarding sustainable finance, and ultimately provide the SEC
                                      with a report identifying policy changes that could facilitate sus-
                                      tainable investments. In addition, the bill requires this committee
                                      to submit recommendations to the SEC regarding what ESG
                                      metrics the SEC should require to be disclosed.
                                         Because many companies already disclose ESG metrics, and I
                                      think it is very unfair that some do and some don’t, I am curious
                                      to know, in your own words, without putting words in your mouth,
                                      what do you have to say about that, Mr. Chairman?
                                         Mr. GENSLER. I look forward to looking closely at your bill and
                                      talking to your staff about that. But I think that to the extent the
                                      broad public is listening to this, please give us comments. Even
                                      now, in an open comment period, it would be really helpful to un-
                                      derstand, as investors, what you think you need and which, in
                                      making your investment decision, your proxy votes and the like, on
                                      climate, on human capital, on diversity, and the issues that we
                                      have been talking about here in this hearing, or other disclosures.
                                      And it is really helpful for the agency as we are doing this.
                                         I think consistency and comparability are helpful as well, and
                                      right now, a lot of issuers are dealing with varying needs around
                                      this issue, and around the globe, because our companies here have
                                      to look after U.S. investors, but our companies are also trying to
                                      raise money overseas, or operate overseas, and there is a bit of an
                                      alphabet soup of different approaches to that.
                                         So, I think it is important. It is within the authority and mission
                                      of the SEC to enhance this disclosure and bring some consistency
                                      and comparability to it.
                                         Mr. VARGAS. That is music to my ears. What I would also add,
                                      and I think you have already discussed this, is materiality. When
                                      we take a look at materiality, it is the investor who gets to decide




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                                      that, not the company. I think it is very, very important that the
                                      investors know this information. But again, I will put that aside.
                                         And I know my time is running out, but I did want to ask you
                                      about the T+1, Chair Gensler, what do you think? Is there really
                                      all that savings, 40 percent savings there? And if that is the case,
                                      why not real-time settlement? We heard that is probably impos-
                                      sible to do.
                                         Mr. GENSLER. I think the technology exists to come to same-day
                                      settlement. There are real savings, lower costs, and lower risk. The
                                      question about same-day settlement is it is still netted, as Mr.
                                      Bodson pointed out. Netting is a really important piece of the eco-
                                      nomics. But you could have same-day evening, so to speak, and
                                      have it all netted. But there are obviously transition costs. Moving
                                      from T+5 to 3 to 2 took time. I noted that in the 1920s, we were
                                      at T+1, so getting back to T+1 100 years later, in modern tech-
                                      nology—Mike Bodson is writing this down, and he is saying, ‘‘Oh
                                      no.’’ But I want to say that we can get to T+1, we can get to
                                      T+evening, but it will take some time.
                                         Mr. VARGAS. Thank you. I yield back.
                                         Chairwoman WATERS. Thank you. The gentleman from Ohio, Mr.
                                      Davidson, is now recognized for 5 minutes.
                                         Mr. DAVIDSON. Thank you, Madam Chairwoman, and I thank our
                                      witnesses for their lengthy testimony today. It certainly adds value,
                                      Each of our three witnesses contributes important roles in ensuring
                                      that our capital markets operate efficiently and effectively, and I
                                      thank each of you for taking such important responsibility.
                                         The market volatility we saw in January has more people talking
                                      about the clearing and settlement cycle, and during the first
                                      GameStop hearing, I highlighted some projects that the DTCC was
                                      working on regarding use of distributed ledger technology to short-
                                      en the settlement cycle and enhance our capital market structure.
                                      Mr. Bodson, I want to personally thank you and your team for
                                      sending me an update on those projects, and I look forward to mon-
                                      itoring their progress.
                                         Speaking of distributed ledger technology, or blockchain, more
                                      broadly, I would like to hear Mr. Gensler’s thoughts. It is well-
                                      known that you are a blockchain expert, as evidenced by your time
                                      as a professor at MIT. There are some fascinating videos on
                                      YouTube where you are teaching on that subject. If anyone has
                                      time and wants to learn more about blockchain technology, I highly
                                      recommend they take a look at these videos.
                                         Chairman Gensler, I would like to follow up on our conversation
                                      from 2 years ago at the Facebook Libra hearing. I want to get your
                                      views on regulation of digital assets. Since 2017, this topic has
                                      been a passion of mine, and I have set out a legislative goal of cre-
                                      ating a bipartisan and clear, light-touch regulatory framework for
                                      digital assets that promotes innovation while protecting consumers.
                                         The final product was the Token Taxonomy Act, first introduced
                                      in 2018, and reintroduced last Congress, and now this Congress. It
                                      has bipartisan support; it always has. The bill has had input from
                                      academics at Wharton School of Business, trade groups like the
                                      U.S. Chamber of Commerce, specialized groups such as the
                                      Blockchain Association, various State regulators, and plenty of
                                      market participants.




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                                         In 2019, you told me, Chairman Gensler, that the SEC has been,
                                      ‘‘slower than I think we want,’’ in terms of creating a regulatory
                                      framework for digital assets. Just 2 days ago, Secretary Yellen pub-
                                      licly stated that we do not have adequate framework to deal with
                                      cryptocurrencies from a regulatory standpoint.
                                         Now with you at the helm of this agency, I think it is an oppor-
                                      tune time for the SEC to work with Congress on creating this regu-
                                      latory framework that is bipartisan and clear. Chairman Gensler,
                                      have your views changed since 2019 on the SEC’s approach to dig-
                                      ital asset regulation?
                                         Mr. GENSLER. Congressman, thank you for that personal shout-
                                      out. It is a free course, by the way. It is free, online.
                                         But I think that there are things that we can do better and get
                                      done at the Securities and Exchange Commission, and we have the
                                      authority, but I also look forward to working with Congress, if it
                                      is a desire of Congress to try to fill some gaps. As I said earlier,
                                      I think crypto changes. Particularly if one trades bitcoin in Amer-
                                      ica today, there is not an investor protection regime that really pro-
                                      tects as I think would be appropriate around these exchanges.
                                         So I look forward to working with you and this committee, if the
                                      Chair wishes, on anything you would do in this area.
                                         Mr. DAVIDSON. Thank you so much, and I look forward to work-
                                      ing with you, and, frankly, our bipartisan group will certainly as
                                      well.
                                         Regulation by enforcement has been characteristic of this space.
                                      Obviously, XRP is a key case. But it would be great to have a
                                      bright-line test so that we wouldn’t be dependent on so many en-
                                      forcement actions or no-action letters. So, I greatly appreciate it.
                                         Lastly, I do want to talk about the SEC’s authority to suspend
                                      trading. I look forward to working with you on a bill that would
                                      provide additional transparency about why the trading was sus-
                                      pended, and more specifics there. Some of that has already been
                                      commented on by others, but I would leave you the opportunity,
                                      sir, for any closing comments on that kind of transparency.
                                         Mr. GENSLER. I look forward to hearing more about the issue, as
                                      you said. I haven’t looked at your bill, and whether you are talking
                                      about suspending penny stocks or was it suspending others, be-
                                      cause sometimes they’re small, market-capped companies that in
                                      some cases have no products and no employees even, but that just
                                      are ripe for fraud and manipulation. There has been a regime for
                                      decades around penny stocks and trying to protect the public from
                                      what are easily-manipulated circumstances.
                                         Mr. DAVIDSON. Just like that clarity that you had there, that is
                                      the piece that when you put the disclosure out for information flow-
                                      ing, what information triggered the halt. But I look forward to it.
                                      Madam Chairwoman, thanks again for the hearing. I yield back.
                                         Chairwoman WATERS. Thank you. The gentleman from New Jer-
                                      sey, Mr. Gottheimer, is now recognized for 5 minutes.
                                         Mr. GOTTHEIMER. Thank you, Madam Chairwoman, and thank
                                      you to our witnesses for being here today. Chairman Gensler, con-
                                      gratulations on your confirmation to lead the SEC, and welcome to
                                      the House Financial Services Committee. It is good to see you, and
                                      I know we are all looking forward to working with you in the com-
                                      ing years.




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                                         I am helping to lead a bipartisan effort to reinstate the State and
                                      Local Tax (SALT) deduction that was eliminated in the tax hike
                                      bill of 2017. Capping the SALT deduction has enormously in-
                                      creased the tax burden on hard-working, middle-class families in
                                      New Jersey’s 5th District. To make matters worse, some legislators
                                      now want to impose a financial transaction tax (FTT) on stock and
                                      bond transactions, including in my State.
                                         Chairman Gensler, according to a study by Vanguard, an FTT
                                      would cost retirement savers $36,000, more than 31⁄2 years of sav-
                                      ings over their lifetime, and would send jobs and markets overseas.
                                      Mr. Chairman, first, do you support a financial transaction tax?
                                         Mr. GENSLER. First, let me say it is good to see you. Full disclo-
                                      sure, we first knew each other maybe 20-some years ago, working
                                      in an Administration.
                                         I really think that I alluded to Congress and the Executive
                                      Branch to sort through taxes, and our remit at the SEC is about
                                      ensuring that working families are protected, we protect them, and
                                      we have fair, orderly, efficient markets and capital formation. And
                                      the tax questions are really outside our jurisdiction, if that is okay,
                                      Congressman.
                                         Mr. GOTTHEIMER. No, I appreciate that, and yes, I am excited to
                                      work together again.
                                         Can I maybe just ask it in a slightly different way? Maybe that
                                      will let you answer on the remit of the SEC. Are you concerned
                                      about an impact it would have on the markets, on pushing markets
                                      overseas, if we did any kind of new levy? There is a lot of concern
                                      that it is so easy, given technology, to move the back end of these
                                      processes overseas, which is kind of what we are facing in New Jer-
                                      sey. From a market perspective, would you be concerned about
                                      that, or would you prefer to—
                                         Mr. GENSLER. Again, what you are raising is that there are
                                      tradeoffs, I think more appropriately made by Congress and the
                                      Executive Branch, in terms of those tradeoffs. We do have a modest
                                      fee. It funds the agency. It is about $2 billion a year that we have
                                      had. So but whatever tradeoffs beyond that, I think I would leave
                                      it to the appropriate—the White House, Treasury, and Congress.
                                         Mr. GOTTHEIMER. Thank you, sir. Separately, if I can ask you
                                      about investment, broker-dealers are, as you know, legally required
                                      to offer best execution for their clients and to provide the most ad-
                                      vantageous order execution for their customers, given the pre-
                                      vailing market environment. However, as you know, there is a per-
                                      ception that the practice of payment for order flow creates a con-
                                      flict of interest between brokers and the investors they serve. Do
                                      you believe that payment for order flow presents a conflict of inter-
                                      est too significant to be adequately addressed by regulations such
                                      as enhanced disclosures or strengthening best-execution obliga-
                                      tions?
                                         Mr. GENSLER. You raised a good question, because we have found
                                      conflicts in various enforcement cases, like one that we filed in Sep-
                                      tember, where the wholesaler was literally saying, ‘‘Well, you tell
                                      me. I can pay more to the broker or I can pay the customer more.’’
                                         We know, at least from that case, this inherent conflict is there,
                                      and whether we can address it enough through disclosures or it
                                      sort of implicates the broader market structure. And I have asked




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                                      staff to think about that broader market structure, and not just the
                                      wholesaler payment order flow but also the exchanges through re-
                                      bates, and just how is this market structure that has led to con-
                                      centration—right now, we have a pretty highly concentrated and
                                      growing concentration in the retail order flow. Economics tells us
                                      that competition lowers costs to investors.
                                         Mr. GOTTHEIMER. I appreciate that, and I really appreciate that
                                      you are hopefully going to have input from stakeholders before tak-
                                      ing any action, and I like that you are asking the SEC to do so.
                                         Lastly, as Warren was saying, and building on your professorial
                                      acuity in the cryptocurrency space—and, by the way, I really en-
                                      joyed our conversations on this, because I think it is wonderful to
                                      have somebody with your level of expertise at the SEC, given the
                                      competitive marketplace, and I think it is really important that we
                                      take the lead here and cede the lead to others in the world on
                                      Fintech and cryptocurrency.
                                         As markets continue to grow and innovate, I would hope—and I
                                      think I know the answer to this, but commit to providing clarity
                                      for market participants in the crypto space and working with
                                      stakeholders to ensure that we do not lose our nation’s place as the
                                      country for innovation and technology. Just making sure [audio
                                      interruption].
                                         Mr. GENSLER. Congressman, I can’t—our capital markets, for
                                      decades, have been part of our economic success story, and tech-
                                      nology comes along, markets change, but we want to make sure we
                                      enhance our rules and get ahead of this, in the crypto space as well
                                      as in the traditional securities space, and always refresh our rules.
                                         Mr. GOTTHEIMER. Thank you. I yield back. Thank you so much.
                                      It’s good to see you.
                                         Chairwoman WATERS. Thank you. The gentleman from North
                                      Carolina, Mr. Budd, is now recognized for 5 minutes.
                                         Mr. BUDD. Thank you, Madam Chairwoman, and Chairman
                                      Gensler, welcome and congratulations on your new role.
                                         Following up on the crypto conversation, in all of my conversa-
                                      tions about crypto, industry leaders mention a lot of the same pri-
                                      orities—the need for a coherent, clear, regulatory framework. Clar-
                                      ity from the legacy institutions to offer decentralized finance (DeFi)
                                      products and even regulatory steps to offer a bitcoin [inaudible].
                                      But the U.S.’s lack of clear guidance is both a competitive dis-
                                      advantage and it is a national security concern. As you know, this
                                      is a complex issue, but I hope you are going to be willing to work
                                      with Congress as we talk about some of the steps to be taken.
                                         There is a strong group of bipartisan lawmakers and regulators
                                      who want to help solve the issue, but I would just like to turn it
                                      back over to you and see what would you like to work with in this
                                      area in regards to blockchain and cryptocurrencies? I appreciate
                                      the other Members coming before me, who have mentioned
                                      cryptocurrencies and blockchain.
                                         Mr. GENSLER. Thank you. I look forward to working with you
                                      and any member of this committee and your staffs. I think that
                                      there is a lot of authority that the SEC currently has in the securi-
                                      ties space, and there a number of cryptocurrencies that fall within
                                      that jurisdiction. But there are some areas, particularly bitcoin
                                      trades in large exchanges, where the public is not currently really




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                                      protected on these crypto exchanges, trading just bitcoin. And so,
                                      that would be one area I would highlight.
                                         Mr. BUDD. Very good. Second question, the GameStop episode—
                                      switching back after talking about GameStop—it highlighted the
                                      need to revisit settlement times. So, it is understandable that any
                                      move away from T+2 will need full and strict support, but the
                                      struggle of moving from T+2 to T+0 settlement time is not lost on
                                      me.
                                         So, Mr. Chairman, with today’s state of technology, including
                                      blockchain technology, what is the SEC and the DTCC, and I also
                                      want to include Mr. Bodson in this, what are you all doing to
                                      evaluate the potential use of blockchain to help speed up settle-
                                      ments?
                                         Mr. GENSLER. You are right that technology exists today to short-
                                      en settlement cycles, even maybe to the same day. I think there is
                                      a business model issue as to whether it is still netted, which has
                                      a lot of economic advantages.
                                         In terms of the underlying ledger technology itself, I would defer
                                      to Mr. Bodson as to whether they find it is helpful to have a dis-
                                      tributed shared ledger or a sort of single-party ledger, and then
                                      what role the SEC would have is to ensure that whatever rules
                                      they are proposing have the resiliency and the important safety of
                                      a clearinghouse, because this is a systemically important clearing-
                                      house. It is the largest, really, the sole clearinghouse for [inaudi-
                                      ble]. But I would turn to Mr. Bodson.
                                         Mr. BUDD. Thank you. Mr. Bodson?
                                         Mr. BODSON. Thank you, Congressman. Distributed ledgers are
                                      a very exciting technology. As was pointed out before, we have two
                                      projects underway that we are publicly discussing, Project Ion,
                                      which is using distributed ledger technology (DLT) for settlement
                                      purposes and digitizing securities, and Project Whitney, which is
                                      more concentrated on the private security market and bringing
                                      some standardization in record-keeping over those markets.
                                         What we are going to do, working with SIFMA and ICI and the
                                      entire industry, over the next few months, is look at those business
                                      processes, look at those conventions that are out there, and see
                                      how best to deal with the impact of shortening time.
                                         As I said before, time is risk. If you shorten it, your credit risk
                                      goes down, but if you shorten it without really understanding it,
                                      operational risk goes up, and all of a sudden, you have a market
                                      in disarray.
                                         DLTs, smart contracts, all of these are exciting developments.
                                      The question is, what is the right time to use it? They are new
                                      technologies. We have 45 years of resiliency—I am going to jinx our
                                      company—but we have a great track record. So anything we do, we
                                      want to maintain that reputation for the DTCC. But new tech-
                                      nology is something obviously we are looking at, and it is very, very
                                      exciting for the industry, longer term, that it could revolutionize
                                      what we do.
                                         Mr. BUDD. Very good. Thank you both. Madam Chairwoman, I
                                      yield back.
                                         Chairwoman WATERS. Thank you very much. The gentleman
                                      from Florida, Mr. Lawson, is now recognized for 5 minutes.




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                                         Mr. LAWSON. Thank you, Madam Chairwoman, and I welcome
                                      our guests to the committee today. One of the things that I have
                                      been actually concerned about, more so than anything else, is safe-
                                      ty for the investor ever since the pandemic hit, and we have seen
                                      a lot of things happen within the marketplace.
                                         So, Mr. Bodson, are current brokers of capital investments suffi-
                                      cient to prevent harm to the investor and to the financial system?
                                         Mr. BODSON. Thank you, Congressman. It is a difficult question.
                                      What we saw during this period of time is obviously our require-
                                      ments went up tremendously as a result of the market conditions,
                                      which were unseen. I have to be truthful that I have been in this
                                      business for 40 years, and I have never seen this sort of con-
                                      centrated activity in a series of stocks, and the impact that it had
                                      on the market, and therefore on the clearinghouse.
                                         What we want to make sure that people understand is that our
                                      collection of the margin protects everybody from almost everybody.
                                      We talk a lot about what happened with Robinhood and their meet-
                                      ing the margin charge, which they did and they remained in good
                                      standing. But if somebody else had gone into default during that
                                      period of time, neither Robinhood nor Robinhood’s clients would
                                      have had to worry about trades being consummated. That is the
                                      story that I think is getting lost somewhere in this somehow, is
                                      that the system worked. There was incredible volume. The system
                                      processed that volume. There were big changes in margin. Firms
                                      met that margin. Nobody was defaulting. Nobody was pushed into
                                      that situation, from a firm basis. And the impact on the retail cli-
                                      ent, obviously, is something that both the SEC and this committee
                                      hopefully will come back with recommendations of [inaudible].
                                         But from our aspect, the post-trading aspect, it was an incredible
                                      period of stress. We didn’t see the circumstances, but we were pre-
                                      pared for volume surges. We were prepared for market stresses,
                                      and that part of the process worked very well.
                                         Mr. LAWSON. Okay. Thank you. And this is to the whole panel,
                                      do you believe that gamification has a place in investing, and if so,
                                      what guardrails should be in place to ensure investors are pro-
                                      tected?
                                         Mr. GENSLER. Congressman, I thank you for asking that. This
                                      term, ‘‘gamification,’’ which means embedding game-like features
                                      into applications, does not just relate to finance; it relates to our
                                      whole online existence. And if I might say, the streaming apps fig-
                                      ured out some time ago that I am kind of a rom-com guy. Here,
                                      I admitted it, on open air, and I see a number of the Members are
                                      looking up. You thought I was a thriller guy, but I’m a rom-com
                                      guy.
                                         If I watch a rom-com that they recommend. and I lose an hour-
                                      and-a-half and it was a lousy rom-com, it is okay. But if you use
                                      gamification features and folks are trading more actively, and day
                                      trading, then all of a sudden, that is their investment future. That
                                      is their challenge for their future and for their security.
                                         So, I think we really have to take a look at this. We have asked
                                      the staff to put together something, a request for public comment,
                                      about all of these features that are getting imported into finance.
                                      Investing, good, but if it is sort of churning folks or getting them




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                                      to trade a lot, what does that mean and what protections should
                                      we have in those communications?
                                         Mr. LAWSON. That is a great answer, Mr. Chairman. Would any-
                                      one else like to comment on that?
                                         Mr. COOK. I would just add that I applaud the decision by Chair
                                      Gensler to solicit comment on this topic, because I do think we
                                      want to make sure we understand it, the different features, what
                                      they are used for and why. We need to make sure we understand
                                      the benefits, and I believe there are some really important benefits
                                      for investors. We also want to make sure we understand the risks,
                                      and I believe there are some important risks. And I think the bene-
                                      fits and risks may change in different contexts. We also need to un-
                                      derstand that.
                                         So, I think we need to move forward in this area by really get-
                                      ting a process where all of the stakeholders can share their views,
                                      and the regulators can be even better-educated. We fully support
                                      the concept of soliciting more comment in this space.
                                         Mr. LAWSON. Okay. Mr. Chairman, do you think that the SEC
                                      broker-dealer capital and liquidity framework needs to be strength-
                                      ened for the larger retail broker-dealers? If so, how?
                                         Mr. GENSLER. You have raised a great question, because what we
                                      found in January is a number of brokers then denied access or shut
                                      out access, and it was about liquidity to the clearinghouse or for
                                      margin to the clearinghouse. So, we are taking a close look at that.
                                      But you raised a good question, whether it also relates to their cap-
                                      ital or liquidity needs.
                                         Mr. LAWSON. Okay. Thank you. Madam Chairwoman, I yield
                                      back, but that is very important.
                                         Chairwoman WATERS. Thank you. Thank you very much. The
                                      gentleman from Indiana, Mr. Hollingsworth, is now recognized for
                                      5 minutes.
                                         Mr. HOLLINGSWORTH. Good afternoon. I appreciate the oppor-
                                      tunity to participate in this hearing, and I know a lot of very im-
                                      portant topics have been talked about.
                                         Chair Gensler, I wanted to speak directly with you for a few min-
                                      utes. I was so encouraged to hear, during your Senate confirmation
                                      hearing, of your willingness to work on transition to an eDelivery
                                      system. Given the significant increase in communications via elec-
                                      tronic means, it seems like a common-sense solution, where con-
                                      sumers would win, ultimately firms would win, and everyone would
                                      be better off on account of this. So, I certainly hope that this will
                                      continue to be a priority. Do you expect it to be a priority as you
                                      are getting started and spinning up in your new role?
                                         Mr. GENSLER. Thank you. Yes, I was honored, in the late 1990s,
                                      to work with Senator McCain on what was the eSignature bill that
                                      President Clinton signed. I think these are ways to bring efficiency.
                                      And look, the last 14 months we have been working through this
                                      pandemic largely because of some of those earlier reforms. It has
                                      been a very, very hard time, and too many of us have lost loved
                                      ones. But electronic delivery is something that I hope that we can
                                      continue to look to do, while still protecting investors and ensuring
                                      they get the proper disclosures.
                                         Mr. HOLLINGSWORTH. Wonderful. I certainly appreciate that, Mr.
                                      Chairman. I think this is an important area where we could ring




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                                      a win both for consumers and their information, as well as for
                                      those that are providing it.
                                         I wanted to switch topics and talk about minimum tick sizes,
                                      though. I have mentioned, in previous hearings, that we have seen
                                      a dramatic increase over the last decade in off-exchange trading,
                                      with this year, at some point, frankly, more exchanges happening,
                                      off-exchanges than on-exchanges. And look, the reality is, I don’t
                                      want this to be a matter of preference. I don’t want it to be a mat-
                                      ter of party. But I do want it to be a matter of parity, where we
                                      have a regulatory regime that is equal across both types of trading,
                                      and I don’t think we have that right now, because of the minimum
                                      tick size requirements for lit or exchange trading.
                                         I wanted to reach out to you about this and help understand if
                                      there was any rationale for that discrepancy between on-exchange
                                      trading [audio interruption].
                                         Mr. GENSLER. I don’t know if we just lost the Congressman, but
                                      I think I got enough of the question to answer it. Should I go
                                      ahead, Madam Chairwoman?
                                         Chairwoman WATERS. Go right ahead.
                                         Mr. GENSLER. Okay. Thank you. One feature of our stock ex-
                                      changes is there is a minimum price size of a penny, if I under-
                                      stand the question, or minimum tick size. I have asked staff to con-
                                      sider that in terms of market structure. Should that change?
                                      Should that address some of this segmentation that the whole-
                                      salers can trade within the penny, but on the exchanges we cur-
                                      rently are not able to. And is that just a legacy of an earlier time?
                                         Chairwoman WATERS. The gentleman from Illinois, Mr. Casten,
                                      is now recognized for 5 minutes.
                                         Mr. CASTEN. Thank you, Madam Chairwoman. You caught me by
                                      surprise with a technical glitch there. I really appreciate you all
                                      coming.
                                         Chair Gensler, I would like to dive into some of the weeds here
                                      on payment for order flow, and I want to frame this in the context
                                      of Robinhood, because it is top of mind in this hearing, but I think
                                      it is more illustrative of some challenges than the specifics.
                                         Number one, I would just point out that last year, Robinhood
                                      paid $65 million in fines for failing to disclose their reliance on
                                      payment for order flow as a revenue stream, $65 million. By com-
                                      parison, they earned $91 million in payment for order flow revenue
                                      in the first quarter of 2020, $180 million in the second quarter of
                                      2020, and $331 million, 5 times the fund, in the first quarter of this
                                      year.
                                         You were not at the SEC, so I am not going to ask you to com-
                                      ment on that, but I would just make the observation that if the
                                      pain of the fine is so much lower than the benefit of the crime, I
                                      am not sure it has the kind of deterrent property we would like.
                                         In our hearing with Mr. Tenev, he noted that their payment for
                                      order flow agreements are structured where their revenue is
                                      earned as a percent of the spread earned by the wholesalers. Now,
                                      leaving the question of payment for order flow broadly aside, that
                                      seems to me like a total conflict of interest. The structure of that
                                      agreement puts the interest of the wholesalers and the brokers di-
                                      rectly at odds with the investors, does it not?




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                                         Mr. GENSLER. I think you highlight two really important points,
                                      if I may. One is that an enforcement regime, I believe, without fear
                                      or favor, lean into individuals and corporations and holds them ac-
                                      countable, and that what you are highlighting is sometimes just a
                                      dollar payment doesn’t fully address holding companies or individ-
                                      uals accountable and change the behavior in the market.
                                         As to the behavior itself, what that finding in that case in De-
                                      cember showed is that there was an inherent conflict, that there
                                      was the wholesaler saying, ‘‘Which way do you want me to go on
                                      this? It is either you or the investor.’’
                                         That is why I have asked staff—I think that we have to take a
                                      holistic look at the market structure and see not only whether cus-
                                      tomers are really getting best execution but how the market struc-
                                      ture can be addressed to get that, and also address some of the in-
                                      creasing concentration in the markets.
                                         Mr. CASTEN. I appreciate that, because again, it is the structure.
                                      It is one thing to be paid 10 cents a trade. It is something else to
                                      say, I am going to get a percent of the spread.
                                         The second point that Mr. Tenev made in those hearings was
                                      that, at least for their options orders, they only route trades to the
                                      four firms listed on their 606s that they have payment for order
                                      flow contracts with. To my mind, I don’t understand how that is
                                      consistent with a best-execution obligation, if you are consciously
                                      not even talking to firms who might be able to do this, but don’t
                                      pay you a fee on it. Would you agree—again, I am talking about
                                      the structure of how you implement your payment for order flow,
                                      not the concept, generally?
                                         Mr. GENSLER. I think that you highlight a very good point, that
                                      in circumstances where you don’t have that, then a broker sort of
                                      says, ‘‘Okay, I have to institute best execution,’’ and goes out and
                                      surveys, I think it was earlier, a Member said it was a horse race,
                                      but you can go out and you can kind of say, okay, now—I think
                                      it was Congressman Foster, but I want to make sure—can I go out
                                      and sort of find the best execution, rather than a limited two or
                                      three or, in this case, four firms that are sending money back to
                                      the broker.
                                         Mr. CASTEN. Okay. I would like to then just tie this all to the
                                      gamification question, because I think all of us on this committee,
                                      regardless of party, want to see U.S. investors create as much
                                      wealth as possible, and I don’t think any of us have evidence to
                                      suggest that retail investors with high trading frequency come out
                                      better than retail investors who just invest in index funds, and are
                                      long hold, other than a couple of lucky casino winners. And yet
                                      that is precisely what gamification is designed to do.
                                         And so, if you couple gamification with an incentive based on the
                                      spread, and you couple that with only funneling money to people
                                      who run the spread, I cannot conceive of a world where you are
                                      also fulfilling your best-execution obligations.
                                         So in the time we have left, what tools do you have to enforce
                                      compliance with folks who are violating that best execution, and
                                      can you commit to making sure that the fines are commensurate
                                      with the gains from the crime?
                                         Mr. GENSLER. That is certainly what we are going to lean in to
                                      do. I think that without fear and favor—and it is not just about the




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                                      firms but individuals and about sanctions and bars—you need to
                                      have orders that make sure of that.
                                         Mr. CASTEN. Thank you. I yield back.
                                         Chairwoman WATERS. Thank you. The committee will be in re-
                                      cess for 5 minutes.
                                         [recess]
                                         Chairwoman WATERS. The committee will come to order.
                                         The gentleman from Ohio, Mr. Gonzalez, is now recognized for 5
                                      minutes.
                                         Mr. GONZALEZ OF OHIO. Thank you, Madam Chairwoman, and
                                      thank you to our esteemed panel. Mr. Gensler, I want to start with
                                      you, and thank you for your testimony and your thoughtfulness in
                                      today’s hearing. It is our first time interacting, and it is great to
                                      meet you.
                                         I want to start with the Archegos situation. As you know, under
                                      SEC rules, any person or firm who acquires greater than 5 percent
                                      ownership of a company must publicly disclose, and then greater
                                      than 10 percent, additional disclosures. Archegos, via swaps, had
                                      exposure, although not ownership, in excess of those triggers, and,
                                      therefore, they didn’t have to disclose. Obviously, once the under-
                                      lying shares started to tank, there were margin calls which they
                                      couldn’t make, and then we had a disorderly liquidation. So my
                                      question around this is, from your view, how do we solve this going
                                      forward, and should the disclosures be triggered instead by expo-
                                      sure as opposed to outright ownership? Would that solve it? And
                                      if not, what are some ideas for that?
                                         Mr. GENSLER. I think you raise a good point, and Congress an-
                                      ticipated this in reforms passed 12 years ago in the Dodd-Frank
                                      Act, and gave authority to the SEC with certain conditions, but au-
                                      thority to bring what is called securities-based swaps into these re-
                                      gimes, this 5- and 10-percent disclosure. I have asked staff to try
                                      to prepare recommendations for the full Commission. I think this
                                      Archegos circumstance, where this family office had well in excess
                                      of those numbers, shows some of the market-based and systemic-
                                      based reasons why, even if they didn’t have the vote, it was an im-
                                      portant set of exposures.
                                         Mr. GONZALEZ OF OHIO. Right. And then with respect to this sit-
                                      uation, from a systemic risk standpoint, do you think that Archegos
                                      was close to a long-term capital management-style dislocation, or
                                      was it more a blip in the radar? Where are you on that?
                                         Mr. GENSLER. It is a very good question. I guess I have been
                                      around finance law enough that I was asked by then-Secretary
                                      Rubin to visit long-term capital management in 1997. I don’t know
                                      all the figures, but this was smaller, and it is 24 years later. That
                                      circumstance had over $1 trillion of derivatives contracts and about
                                      $4 billion of capital, so I would say highly, highly levered. This was
                                      levered, as earlier members of this committee have said, pretty
                                      levered up, but I don’t think it was quite at that level, but you
                                      raise a good point. There are systemic implications that we have
                                      to take the lessons even when the system holds, take those lessons
                                      and adjust our rules.
                                         Mr. GONZALEZ OF OHIO. Okay. Thank you. And then, with all the
                                      volatility that we have seen in the last year, whether it is
                                      GameStop or Archegos, I would be curious what your thoughts are




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                                      on the effect of the zero interest rate environment and sort of the
                                      messaging around it, basically saying, hey, look, we are going to
                                      keep it low for as long as humanly possible, and what effect that
                                      has to risk taking, in general, and leverage, in particular. Just sort
                                      of your thoughts on that.
                                         Mr. GENSLER. I am going to leave monetary policy to the Central
                                      Bank, and I think their remit under the securities laws is large
                                      enough. Regardless of where the markets are, up or down, interest
                                      rates high or low, I think our core mission of ensuring that we root
                                      out fraud and manipulation is a really critical piece. And what we
                                      found in the GameStop circumstances is that volatile markets, this
                                      is the time also to be protecting the retail public.
                                         Mr. GONZALEZ OF OHIO. Great. I tried to get you to wade in
                                      there, but I appreciate the dodge. This isn’t your first rodeo clearly.
                                      So, on the payment for order flow (PFOF) situation, sort of fol-
                                      lowing up on that, when I look at GameStop, I see PFOF as sort
                                      of a bit player, but not the primary driver, right? It happens to be
                                      how Robinhood executes trades, but, to me, it was a short squeeze
                                      of a handful of companies, but, in particular, GameStop, driven by
                                      social media and then traded on zero commission platforms. Do you
                                      agree with that perspective? I want to make sure we are not add-
                                      ing payment for order flow as the primary driver of the GameStop
                                      situation, when payment for order flow was around long before
                                      GameStop, and hopefully long after. But I would love to just hear
                                      you kind of put a bow on that, if you could.
                                         Mr. GENSLER. Yes, thank you, and it is in our remit, so I will
                                      address it. I think that the GameStop events raised a handful of
                                      issues, and payment for order flow and the inherent conflicts that
                                      they present for brokers and their customers, we need to take a
                                      closer look at.
                                         Mr. GONZALEZ OF OHIO. Thank you, Madam Chairwoman, and I
                                      yield back.
                                         Chairwoman WATERS. Thank you very much. The gentlewoman
                                      from Iowa, Mrs. Axne, is now recognized for 5 minutes.
                                         Mrs. AXNE. Thank you, Madam Chairwoman, and thank you to
                                      the witnesses for being here. Chair Gensler, it is great to have you
                                      confirmed and have the SEC back at full strength.
                                         Mr. GENSLER. Thank you.
                                         Mrs. AXNE. It is obvious to everyone that people trade differently
                                      and invest, and it has changed a lot over the last 10 years. And
                                      you know what? Contrary to what my colleagues on the other side
                                      of the aisle are saying, we believe in that. That is okay. But I do
                                      worry about some of the standards and protections for investors so
                                      that we can keep up with those changes. And recently, I have been
                                      very focused throughout this process on how new digital platforms
                                      have gamified trading and can be designed to influence behaviors
                                      within those users.
                                         My husband and I own a digital design firm, so I am pretty fa-
                                      miliar with this, and one of the things I have heard along the way
                                      is that we shouldn’t take away from some of those fun features of
                                      the apps. I don’t disagree with that in general.
                                         However, at our last hearing, I asked Dr. Vicki Bogan, who is an
                                      expert in this area, about this, and she said that app design can
                                      absolutely influence the decisions people make while they are using




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                                      that app. And in this case, that app design can encourage riskier
                                      trading, which is literally the last thing investors with limited
                                      knowledge need.
                                         So, Chair Gensler, what I am wondering is if that is something
                                      that the SEC will look at in evaluating whether the current regu-
                                      latory structures are doing enough to protect investors against
                                      gamification, towards riskier behavior?
                                         Mr. GENSLER. Yes, Congresswoman, and I look forward to work-
                                      ing with you. I think what we have found in our modern internet
                                      age is that service providers outside of finance figured out how to
                                      basically engage us in a more fun app and make the user experi-
                                      ence more enjoyable. Bringing that to finance can be good because
                                      it is easier to use the app, but it also can lead to high trading activ-
                                      ity, and that high trading activity is really important. Tie that app
                                      with predictive data analytics, some fancy words like, ‘‘deep learn-
                                      ing,’’ and ‘‘machine learning,’’ tie that to predictive data analytics,
                                      then they can say to Gary Gensler, ‘‘This is the prompt you are
                                      going to get,’’ and they can say to Chairwoman Waters, ‘‘This is the
                                      prompt you are going to get.’’ And the computers figure out how
                                      to market to us differently, and all of a sudden it becomes some-
                                      what, potentially, behaviorally addictive, and you start to find that
                                      your returns go down. So, I think it is a very important thing. We
                                      are putting it out for public comment to find out from the public
                                      more about this area. I think it is best to get ahead of it, rather
                                      than 5 years from now to look back and say, some problems have
                                      occurred.
                                         Mrs. AXNE. Listen, that is music to my ears, and thank you so
                                      much. We will continue to work on this. Also, in this committee,
                                      we have looked a lot at the industries which have a business model
                                      where people aren’t actually the customer of the service that they
                                      count on. From student loans to credit reporting servicers, we con-
                                      sistently hear about those businesses where we have gotten a lot
                                      of complaints from consumers.
                                         Chair Gensler, it is pretty clear that this is a similar situation
                                      where Robinhood is selling to the marketplace, the vendor, so not
                                      the consumer. We have a clear conflict of interest here when it
                                      comes to payment for order flow, and one of the things that is pret-
                                      ty clear from both news coverage and from these hearings is that
                                      this business, with as much of a conflict here, we don’t have
                                      enough transparency around the PFOF, both for the public and for
                                      policymakers to even understand. And I have had back and forth
                                      with Robinhood’s CEO on this, and he said he would send us that
                                      information for the PFOF. We are still, of course, waiting to see
                                      that, since those currently aren’t covered by Rule 606.
                                         So, Chair Gensler, I am wondering if that is something that you
                                      would consider including in updating those rules, and what are
                                      some other options that we can look at to address this conflict?
                                         Mr. GENSLER. I have asked staff to consider what we should do
                                      in terms of broad market structure, payment for order flow, and I
                                      would add that data is very valuable. What we find in our online
                                      life, if we are not paying, if it is a free commission, it is often that
                                      somebody else is getting data. In this case, the data is the actual
                                      transaction flow. That data is very valuable to the wholesaler, the
                                      internalizer who is taking that order flow, and then, as we heard,




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                                      maybe 50 percent of the retail flow, then they have a data advan-
                                      tage against all the other market makers, like a search engine that
                                      has data advantages against all other online platforms.
                                         Mrs. AXNE. Listen, I can’t wait to work with you on this, and I
                                      will tell you what, I am worried. While we all want people, of
                                      course, to be able to save and invest equitably, what we have right
                                      now could exacerbate inequity, so I am grateful to hear what you
                                      have to say. Thank you.
                                         Mr. GENSLER. Thank you.
                                         Chairwoman WATERS. Thank you very much. The gentleman
                                      from West Virginia, Mr. Mooney, is now recognized for 5 minutes.
                                         Mr. MOONEY. Thank you, Madam Chairwoman. In the last few
                                      years, a record number of retail investors have opened brokerage
                                      accounts. Last year, individual investors’ estimated share of equi-
                                      ties trade volume reached a decade high. Although financial out-
                                      comes for individual investors will vary, I see increased participa-
                                      tion in our capital markets as a positive development for wealth
                                      creation. Investors who bought shares of an ETF that tracks the
                                      S&P 500 on January 1, 2020, would see roughly a 29-percent re-
                                      turn on their investment today. That kind of return can make it
                                      easier to buy a house or save for a child’s education.
                                         So, Chairman Gensler, do you consider increased participation by
                                      retail investors to be a positive development, and, if so, how will
                                      market access factor into your decision-making at the SEC?
                                         Mr. GENSLER. I think, Congressman, that market access is im-
                                      portant, market access and an informed public making their own
                                      risk decisions and participating in markets, and that these new fi-
                                      nancial technology apps have helped facilitate that. What we are
                                      also doing, though, is ensuring that investors are protected and
                                      that we look at these gamification features and other prompts to
                                      see that they are still protected and they are not just encouraging
                                      a method to trade more and trade more, chasing after something
                                      that behavioral prompts are encouraging them to do.
                                         Mr. MOONEY. Thank you. Aas a good Republican, we always say,
                                      whenever possible, to quote Ronald Reagan. As President Ronald
                                      Reagan once said: ‘‘Government can and must provide opportunity,
                                      not smother it; foster productivity, not stifle it.’’ So my fear is that
                                      overregulation could stifle the trend of greater participation from
                                      retail investors. Bad or just simply misguided legislation could
                                      have negative effects as well.
                                         Specifically, banning payment for order flow is not the right ap-
                                      proach. If we ban payment for order flow, a practice that has been
                                      around for decades, I fear we may see the end of commission-free
                                      trading, and commission-free trading has been a driving force be-
                                      hind increased retail participation, and a return to commissions
                                      would make it harder for new retail investors to participate in our
                                      markets. The consequences of that could be devastating. As we dis-
                                      cussed earlier, participating in our markets is a fantastic way for
                                      everybody in America, every person, to build wealth.
                                         So, I urge my Democrat colleagues to not get in the way of a good
                                      thing. Increased participation by retail is a positive development.
                                      Let’s not regulate or legislate that progress away. Thank you,
                                      Madam Chairwoman, and I yield back.




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                                         Chairwoman WATERS. Thank you very much. The gentleman
                                      from New York, Mr. Torres, is now recognized for 5 minutes.
                                         Mr. TORRES. Thank you, Madam Chairwoman. My first question
                                      is to Chair Gensler. Mr. Chairman, do you believe there is an in-
                                      herent conflict between payment for order flow and best execution?
                                         Mr. GENSLER. Thank you, Congressman. I look forward to work-
                                      ing with you. We have found, as highlighted earlier in the hearing,
                                      that there have been times where there is an inherent conflict,
                                      even when a wholesaler paying for that order flow said, ‘‘Look, you
                                      tell me I can pay you more, or can sell the customer more.’’ There
                                      are firms that have zero commission that don’t have payment for
                                      order flow. And also to the earlier question, there are countries—
                                      the United Kingdom banned payment for order flow. Canada has
                                      banned payment for order flow. So I have just asked staff, let’s look
                                      at this holistically as to what promotes fair, orderly, and efficient
                                      markets, and protects investors the best.
                                         Mr. TORRES. I would ask you, payment for order flow is clearly
                                      a tradeoff. It has benefits. It has costs. Do you have a position on
                                      whether the costs outweigh the benefit at this moment?
                                         Mr. GENSLER. I still want to hear from staff and work with my
                                      fellow Commissioners, but to your earlier question, there is this
                                      tension. There is a conflict there, and it has also led to a handful,
                                      really one or two wholesalers to have a dominant share in the re-
                                      tail market. And that concentration also raises issues of fragility,
                                      the data that they have. Do they get a competitive advantage on
                                      the rest of the market? Concentration usually leads to less efficient
                                      markets.
                                         Mr. TORRES. It is often said that zero commission trading is free,
                                      but there is a sense in which it is deceptively free. It has no cost
                                      at the front end, but it certainly has a hidden cost at the back end.
                                      Do you agree with that assessment, and how can we make that
                                      hidden cost more visible to retail investors?
                                         Mr. GENSLER. It is a very good question, because there are costs.
                                      It is sort of like an iceberg, but most of the iceberg is below the
                                      surface. The costs are below the surface. Payment for order flow is
                                      one of the costs. Someone else in the market gets enough data to
                                      trade that market better for them and a little less well for every-
                                      body else.
                                         Mr. TORRES. Two concerns I have are market concentration and
                                      systemic risk. It has been reported that Citadel controls 47 percent
                                      of the retail order flow market. It has also been reported that Mel-
                                      vin Capital, which sustained, what, 51 percent losses in January
                                      2021, was heavily leveraged. How are we going to address market
                                      concentration and systemic risk in this market?
                                         Mr. GENSLER. I think by thinking through, as best we can, how
                                      to instill, through market rules and transparency, vibrant competi-
                                      tion, and vibrant competition so that one firm doesn’t necessarily,
                                      through economics, get to that center and get to dominate. We see
                                      concentration also on the brokerage side, increasing concentration
                                      on the brokerage side, so it is not just on the market-making side.
                                      And that is what I have asked staff, and our Division of Economic
                                      and Risk Analysis, and others to work out.
                                         Mr. TORRES. And as you know, there was controversy around
                                      Robinhood’s decision to restrict trading. I have heard the argu-




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                                      ments. I, for one, actually find the arguments to be reasonable. It
                                      seems like Robinhood would have had the inability to meet margin
                                      call, but it raises a larger question for me. It seems to me the abil-
                                      ity of a broker to restrict trading appears to be absolute. I am won-
                                      dering, should there be any limits on the ability of a broker to re-
                                      strict trading to ensure that it is done reasonably, and that there
                                      is no abuse of power?
                                         Mr. GENSLER. I think what happened there was to protect the
                                      clearinghouse, and because this firm didn’t have enough liquidity
                                      and they scrambled around to raise a little over $1 billion that fate-
                                      ful day, they and some others restricted trading. I think access to
                                      the markets is a fundamental part of the markets, and so the folks
                                      who took it on the chin, so to speak, were the people who wanted
                                      that access at that critical time. And so, we are looking at that very
                                      closely.
                                         Mr. TORRES. But should there be limits on the ability of a broker
                                      to restrict trading?
                                         Mr. GENSLER. Again, it is only my 3rd week on the job, so—
                                         Mr. TORRES. You have been thinking about these topics for a
                                      long time.
                                         Mr. GENSLER. I understand.
                                         Mr. TORRES. Okay.
                                         Mr. GENSLER. I would have to say, whether you are the smallest
                                      investor or the largest investor, one of the hallmarks of our mar-
                                      kets is access to trading. And so, it does concern me that retail in-
                                      vestors were shut out during a fateful time, but again, it is a bal-
                                      ance. They had to protect the clearinghouses as well.
                                         Mr. TORRES. Thank you, Madam Chairwoman.
                                         Chairwoman WATERS. Thank you very much. The gentleman
                                      from Tennessee, Mr. Rose, is now recognized for 5 minutes.
                                         Mr. ROSE. Thank you, Madam Chairwoman and Ranking Mem-
                                      ber McHenry, and thank you to our witnesses for your testimony
                                      and participation in today’s hearing. Chairman Gensler, I want to
                                      welcome you as well to your first appearance before the committee
                                      in your new role.
                                         Historically, the SEC has administered the Federal securities
                                      laws in a bipartisan fashion. Chairman Gensler, I hope you con-
                                      tinue that tradition, as I believe discussions about securities laws
                                      are not where we should be holding debates about climate change,
                                      or racial inequalities, or other extraneous issues. As the American
                                      economy continues to recover from the government-imposed shut-
                                      downs due to COVID-19, I also urge you to avoid placing overly
                                      burdensome regulations through backdoor regulating that could
                                      lead to limited consumer access to credit or stifle job growth.
                                         As we analyze the events surrounding GameStop, we, again, are
                                      discussing payment for order flow, a conversation that has been on-
                                      going since the 1980s. I am not in favor of banning payment for
                                      order flow like the legislation my Democratic colleagues have intro-
                                      duced to this hearing, especially without the proper due diligence
                                      of studying its benefits and costs. The updated reporting require-
                                      ments released in 2018 were a good step forward, but I think we
                                      should continue to investigate if those changes are providing the
                                      necessary transparency for investors.




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                                         Chairman Gensler, in the previous hearing, I asked one of our
                                      witnesses what reforms he thought the SEC should implement or
                                      could implement with respect to payment for order flow to increase
                                      transparency for retail investors. And he suggested more granular
                                      606 reports, specifically doing more to provide better public trans-
                                      parency of best execution. Are you looking into additional changes
                                      to those reports, and, if so, what changes?
                                         Mr. GENSLER. I thank you for that, and I look forward to working
                                      with you and your staff in a bipartisan way with your advice. I
                                      want to turn to your question. I think transparency is very helpful,
                                      and transparency around these potential conflicts, I don’t know if
                                      it will get us all the way there, and that is what I have asked the
                                      staff as to market structure, and, more broadly, not just about
                                      wholesalers and brokerage shops like Robinhood, but also ex-
                                      changes and brokerage shops which pay rebates. In that whole
                                      market structure, what is going to promote the most competition,
                                      the most efficiency, so when a company goes to raise money, they
                                      have the most efficient markets, and when working families save,
                                      they can save best for retirement? And at the middle, if we have
                                      concentration, often economic shows leads to higher economic rents
                                      and higher costs. So, competition in that middle of the market is
                                      what would serve as my question to the staff.
                                         Mr. ROSE. What is the timeframe and prioritization for your ex-
                                      amination of payment for order flow?
                                         Mr. GENSLER. Again, just 3 weeks on the job, so I don’t know
                                      which month. But just because the chairwoman asked to have this
                                      hearing, you can imagine we have spent a lot of time just in the
                                      last 2 weeks. We are looking to probably publish a GameStop re-
                                      port this summer, but that won’t be the only piece of it. It is really
                                      looking at what should we be doing in terms of overall market
                                      structure and whatever rules we can do, whether it be, as you said,
                                      updating our transparency around this Rule 606 or going further.
                                         Mr. ROSE. Thank you. Mr. Cook, in your written testimony, you
                                      said that the SEC’s 2018 disclosure requirement updates that took
                                      effect in 2020 have increased the public transparency of payment
                                      for order flow, but that FINRA believes that additional updates to
                                      order routing disclosure are necessary. Could you describe what up-
                                      dates you are planning to recommend?
                                         Mr. COOK. Thank you for that question, sir. I think we would
                                      like to explore that with the SEC to build on it. I think it was a
                                      very positive development. The 2018 disclosure you are referring to
                                      just became effective in 2020. A lot of the debate around payment
                                      for order flow now is informed by that additional disclosure, so I
                                      think that has been very helpful. The question is whether there
                                      might be more granular information about payment for order flow.
                                      We might think about some of that being imported to regulators to
                                      help them investigate how orders are being routed, but also more
                                      disclosure to investors, and that might be enhanced 606 reports
                                      considering disclosures at the point of sale.
                                         Mr. ROSE. Thank you, and I yield back, Madam Chairwoman.
                                         Chairwoman WATERS. Thank you. The gentlewoman from North
                                      Carolina, Ms. Adams, is now recognized for 5 minutes.
                                         Ms. ADAMS. Thank you, Madam Chairwoman. Thank you for
                                      holding this hearing, and thank you to our guests today.




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                                         Chair Gensler, first of all, congratulations on your confirmation.
                                      I want to focus my questions on increasing transparency within the
                                      markets. As you know, on a quarterly basis, some of our largest in-
                                      stitutional investors must disclose their equity holdings via Form
                                      13F. However, both the GameStop and Archegos controversies have
                                      highlighted some serious weak points and loopholes in Form 13F.
                                      For example, Archegos, which caused billions in losses for some of
                                      the world’s largest financial institutions, like Credit Suisse, was
                                      able to skirt disclosing its sizable derivatives positions because
                                      Form 13F doesn’t require covered filers to disclose.
                                         As Chairman of the SEC, what reforms to 13F do you believe
                                      need to be made to provide more transparency to the markets and
                                      investors, and do you believe that 13F filings should be expanded
                                      to include derivatives?
                                         Mr. GENSLER. Thank you for that question. I do think, and Con-
                                      gress anticipated this by giving authority to the SEC to do that. I
                                      think these derivatives, or what is known in this case as total re-
                                      turn swaps, being included in those filings would be positive. I
                                      can’t speak on behalf of the Commission. I am just speaking on my
                                      behalf. But I have asked staff to prepare recommendations to the
                                      five-member Commission to use that authority that the SEC has.
                                      I also think that there might be other updates that we should do
                                      beyond just derivatives as well.
                                         Ms. ADAMS. Thank you. Mr. Bodson, Robinhood’s CEO blamed
                                      the trade settlement cycle on Robinhood’s inability to meet the Na-
                                      tional Securities Clearing Corporation’s (NSCC’s) margin demands,
                                      which he said forced Robinhood to restrict trading in GameStop
                                      and other stocks so it could reduce its risk profile, therefore, reduc-
                                      ing the amount that it would have to pay into NSCC’s margin fund.
                                         So, Mr. Bodson, can you please describe generally what factors
                                      NSCC uses to determine a member firm’s risk profile, and estimate
                                      how often it is that a member firm is surprised at the amount it
                                      has to pay into a clearinghouse’s margin fund?
                                         Mr. BODSON. Thank you, Congresswoman. Our formulas, our
                                      models are all SEC-approved and subject to public commentary.
                                      The model is commonly known as a value-at-risk model. It is a
                                      widely-accepted and supported model to estimate the potential loss
                                      in the portfolio of open trades that a firm has, what is the loss over
                                      the 2-day period to settlement. In the case of Robinhood and oth-
                                      ers, because they were not the only firm that was facing these situ-
                                      ations, the model saw that they had a large concentration of trans-
                                      actions in buy, so instead of portfolio buys and sells, they were all
                                      buy trades and stocks that were moving around 100 to 200 to 300
                                      percent a day, which is incredible volatility, and with volumes that
                                      were over 100 times above what would be normal. All of these fac-
                                      tors led the model to say that this is a very risky situation. If a
                                      firm defaults, there is a possibility of those stocks losing all their
                                      value in an equal period of time. So, that is what drove the margin
                                      charge from Robinhood and some other firms where you saw this
                                      heavy retail flow.
                                         We provide our members the model itself in our rules. We have
                                      model guides to help them understand it. We have APIs which
                                      send information to the firms. We have a customer portal where
                                      they can see what we are seeing. Now, the model itself runs over-




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                                      night, so one can understand a firm may not know the exact, pre-
                                      cise amount that may come out the next day, especially in this type
                                      of marketplace. But they can anticipate that there will be a signifi-
                                      cant increase overnight as a result of seeing their customers’ activ-
                                      ity coming through them.
                                         Ms. ADAMS. Okay. So We know that it was an unprecedented
                                      week, but do you believe that it was the settlement cycle that is
                                      to blame for Robinhood’s margin issues, or is this just a case of
                                      poor risk management?
                                         Mr. BODSON. I think it is more a question of, if there was a
                                      shorter settlement cycle, yes, the margin charge would be reduced,
                                      because that period of time would go from 2 days to 1 day. There-
                                      fore, the portfolio of open trades would be lower. The volatility
                                      would not have to be over 2 days, but over 1 day. I am not sure
                                      that, ‘‘blame,’’ is the right term for any settlement cycle. That sim-
                                      ply is an industry convention.
                                         Ms. ADAMS. Okay. Thank you. Madam Chairwoman, I yield back.
                                         Chairwoman WATERS. Thank you very much. The gentleman
                                      from Wisconsin, Mr. Steil, is now recognized for 5 minutes.
                                         Mr. STEIL. Thank you very much, Madam Chairwoman. I don’t
                                      know about everybody else on these virtual hearings, but, man, I
                                      look forward to the Majority allowing us to be back in person in
                                      the not-too-distant future. I think it would be really nice just to ac-
                                      tually see people instead of doing this virtually on some pretty im-
                                      portant topics. But, away we go.
                                         Chairman Gensler, I really appreciate you being here today. At
                                      the hearing last month, I asked Acting Director Coates about some
                                      statements he made regarding the SPAC market in his then-tem-
                                      porary capacity as the head of the Division of Corporation Finance.
                                      As you know, in my opinion, his comments had some pretty
                                      impactful effects on the SPAC markets. Acting Director Coates was
                                      hired by Commissioner Lee when she was the Acting Chair, but
                                      has remained in that role under your chairmanship. In fact, several
                                      of the Commissioners that Lee hired remain in prominent roles, in-
                                      cluding your Chief of Staff. Do you intend to retain Acting Director
                                      Coates as the permanent head of the Division of Corporation Fi-
                                      nance?
                                         Mr. GENSLER. Thank you for that, and I look forward to working
                                      with you. John Coates is a valued member of the senior staff of the
                                      SEC, and while I only met him recently, he is contributing and
                                      working really well.
                                         Mr. STEIL. Did you provide any consultation with Commissioner
                                      Lee about or exert influence over staff hiring, both in the roles in
                                      the Chairman’s office and for the SEC divisions prior to being
                                      sworn in as Chairman?
                                         Mr. GENSLER. No.
                                         Mr. STEIL. Okay. That is helpful. Did you have any input into
                                      the hiring of Acting Director Coates then? No?
                                         Mr. GENSLER. As I just said, no.
                                         Mr. STEIL. Okay. I will shift gears. Let’s jump into a favorite
                                      topic of mine, ESG disclosures. I have been concerned that our se-
                                      curities laws are going to be misused to push social policy agendas
                                      that are, at best, tangentially related to investor protection and
                                      capital formation.




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                                         And with that in mind, I want to ask you about Commissioner
                                      Lee’s recent remarks at the Center for American Progress. In her
                                      speech, Commissioner Lee suggested the SEC should focus its at-
                                      tention on political disclosures. She said, ‘‘Many companies that
                                      have made carbon-neutral pledges or otherwise state they support
                                      climate-friendly initiatives have donated substantial sums to can-
                                      didates with climate voting records inconsistent with such asser-
                                      tions.’’ And I am concerned that pursuing policies like this with the
                                      SEC is going to lead to mandatory disclosures of information that
                                      aren’t material to your average investor, and that is, instead, really
                                      an attempt to leverage the SEC to engage in naming and shaming.
                                      Did you by chance discuss Commissioner Lee’s remarks before she
                                      made them?
                                         Mr. GENSLER. Congressman, I was a private citizen at MIT.
                                         Mr. STEIL. Completely fair. So, you were not engaged in pro-
                                      viding advice on those comments or in consultation?
                                         Mr. GENSLER. Until I was honored by the U.S. Senate and ap-
                                      pointed by the President, I was at MIT as a professor.
                                         Mr. STEIL. Totally fine. I just wanted to confirm that that was
                                      the case. With all of the critical challenges we are facing today and,
                                      in particular, in front of the SEC, do you feel, at this time, that
                                      you intend to prioritize that issue?
                                         Mr. GENSLER. I am, sir, and let me explain why. I think that a
                                      quarter of our market structure is disclosure, and investors being
                                      able to decide what risks they take based upon the disclosure from
                                      issuers. And in this decade, the 2020s, climate risk is something
                                      that an increasing number of investors, measured in the trillions
                                      of dollars, have really said that this is something they want to bet-
                                      ter understand as they make their investment choices, and I think
                                      we can help bring consistency and comparability. I think we can do
                                      it through notice and comment. There is a comment period that
                                      Acting Chair Lee actually started. I wasn’t a part of that; she start-
                                      ed it, Acting Chair Lee.
                                         We are going to get a lot of comments from the public come June,
                                      and I encourage anybody to weigh in for or against. The details—
                                      it is really helpful to learn from the public their views on this, but
                                      it is about the investors and disclosure that investors want in mak-
                                      ing their investment and proxy choices.
                                         Mr. STEIL. I appreciate you answering. With the limited time, I
                                      would say I look forward to the discussion. I look forward to work-
                                      ing with you, and I appreciate you attending today’s virtual hear-
                                      ing.
                                         Mr. GENSLER. Thank you.
                                         Mr. STEIL. And with that, Madam Chairwoman, I yield back.
                                         Chairwoman WATERS. Thank you very much. The gentleman
                                      from Illinois, Mr. Garcia, is now recognized for 5 minutes.
                                         Mr. GARCIA OF ILLINOIS. Thank you, Chairwoman Waters and
                                      Ranking Member McHenry, for holding this hearing today, and
                                      thanks to all the witnesses for your informative testimony. This is
                                      the third hearing we have had about GameStop, and people joke
                                      about Congress having a short attention span, but unfortunatelyz,
                                      this is not old news. Every week, there is a stock price going up
                                      and down for no real reason. Every month, there is a new financial
                                      trend to get rich quick. GameStop [inaudible], and it is pretty much




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                                      always the same people who are getting rich. People in working-
                                      class communities like mine don’t know how they will retire. They
                                      are worried about whether their parents are going to live. But they
                                      are the ones who come out ahead.
                                         Mr. Gensler, as you mentioned in your written testimony, one
                                      firm, Citadel, apparently handles almost half of all retail trading
                                      volume. There are a lot of reasons why that is troubling, but retail
                                      traders talk all the time about democratizing finance and letting in
                                      the little guy. I think that is like saying Amazon democratized
                                      reading, because big players like Citadel, the only companies large
                                      enough to handle all these trades, are getting way bigger.
                                         Mr. Gensler, do you think that the payment for order flow ar-
                                      rangements that companies like Robinhood use simply entrench big
                                      players like Citadel?
                                         Mr. GENSLER. You raise a very good question, and I think it is
                                      an interrelated question which I have asked staff to help our five-
                                      member Commission on, is the market structure right now has
                                      some concentration in the retail space that you just mentioned,
                                      that there are dominant market makers buying this payment for
                                      order flow. I think there are also some conflicts that arise between
                                      are we, the public, getting best execution?
                                         I no longer can do this because I am at the SEC, but before I
                                      got there, when I would put in an order to my broker that is a mar-
                                      ket order, about 90, 98 percent or something of those market or-
                                      ders, depending upon the month, are going to a handful of whole-
                                      salers. They don’t go to the New York Stock Exchange or Nasdaq.
                                      They don’t even go to dark markets, called ATSes. The retail order
                                      flows that are market orders to go to those, and so it raises ques-
                                      tions. Is this the most efficient market? Is this the fair, orderly, ef-
                                      ficient market that Congress has mandated the SEC to do? And
                                      does it lead to some fragility in markets from the market con-
                                      centration? That is what I am going to look at, to make sure. And
                                      I think it matters to companies and issuers, too, that the capital
                                      formation is better when there is intense competition in the middle
                                      of the market.
                                         Mr. GARCIA OF ILLINOIS. I am glad that you are looking at it, and
                                      that we will be hearing from you in the near future. Do you see
                                      a potential problem with one firm, like Citadel, having so much
                                      concentrated power in a single market?
                                         Mr. GENSLER. It does raise questions of, does it leave the market
                                      potentially more fragile, potentially less innovative, and whether
                                      the pricing in that marketplace is not benefiting from as much ro-
                                      bust competition? We know economics tells us that when there is
                                      a lot of competition in a market with multiple parties, it tends to
                                      lead to better pricing for the users of that market.
                                         Mr. GARCIA OF ILLINOIS. Yes. And do you think that a firm like
                                      Citadel could potentially pose a systemic risk to the U.S. financial
                                      system, and should FSI review the risks associated with such a
                                      large market maker?
                                         Mr. GENSLER. Again, sir, I haven’t focused on just that firm, but
                                      I think that market concentration and market making can lead to
                                      issues that that player has data advantages like we have seen.
                                      There is one online search engine in America that most of us go
                                      to, and that has data advantages. Now, in the middle of our capital




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                                      markets, one firm may be in the retail order flow. So it is in the
                                      retail order flow that you mentioned, it may have growing data ad-
                                      vantages over other market participants.
                                         Mr. GARCIA OF ILLINOIS. Thank you very much. Madam Chair-
                                      woman, I yield back.
                                         Chairwoman WATERS. Thank you very much. The gentleman
                                      from South Carolina, Mr. Timmons, is now recognized for 5 min-
                                      utes.
                                         Mr. TIMMONS. Good afternoon. Thank you, Madam Chairwoman.
                                      And before I begin with my questions, I want to reiterate what my
                                      friend from Wisconsin, Congressman Steil, said. I really look for-
                                      ward to getting back in person. I hope that we can do that as soon
                                      as possible.
                                         Mr. Bodson, it is easy to be a Monday morning quarterback, but,
                                      in your opinion, did Robinhood act appropriately in restricting trad-
                                      ing in certain stocks based on current regulations they and the
                                      DTCC are subject to?
                                         Mr. BODSON. I really can’t comment on Robinhood’s decision.
                                      Only Robinhood can do that. I would be speculating, and it really
                                      would not be appropriate. What we know is there was a large mar-
                                      gin charge that they were subject to. The premium component was
                                      waived. They met their requirement and remain a member in good
                                      standing. What happened next, the decision to restrict trading
                                      ,really was internal to Robinhood. We did not have discussions
                                      about that.
                                         Mr. TIMMONS. Understood. Thank you. Chairman Gensler, do you
                                      believe that payment for order flow improves overall market liquid-
                                      ity and order execution for retail investors?
                                         Mr. GENSLER. I am going to have to study it a little bit more
                                      with our Division of Economic Research and Trading and Markets
                                      in terms of this very important question that you just raised. Does
                                      it increase liquidity, is it neutral, or is it negative to liquidity? I
                                      haven’t formed a view on that yet, sir.
                                         Mr. TIMMONS. Sure. Thank you. Also, Commissioner Gensler,
                                      Germany’s financial regulator ran into trouble when it banned
                                      short selling in wire cardstock and filed criminal complaints
                                      against two journalists reporting whistleblower allegations against
                                      the company. Do you believe that it is necessary for short sellers
                                      to disclose their short positions in 13F filings, and could this addi-
                                      tional disclosure lead to a similar situation of regulatory overreach
                                      in the United States?
                                         Mr. GENSLER. I am not familiar with the circumstances you are
                                      mentioning, but let me say that Congress anticipated and gave au-
                                      thorities to the SEC to, on a monthly basis, require aggregate infor-
                                      mation in the short selling market. FINRA, and Mr. Cook could
                                      speak to it, already publishes some information on a biweekly
                                      basis. I think that transparency is positive to markets, and I have
                                      asked staff to put forward recommendations to our five-member
                                      Commission. It was actually a mandate from Congress. It wasn’t
                                      a, ‘‘may.’’ It was a, ‘‘shall.’’ So we are going to lean in and follow
                                      Congress’ mandate from 12 years ago.
                                         Mr. TIMMONS. Sure. Thank you. Last question for you, do you be-
                                      lieve that short sellers play a role in maintaining fair, orderly, and
                                      efficient capital markets?




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                                         Mr. GENSLER. I think that short selling, which is probably as old
                                      as capital markets, several hundred years or more old, does play
                                      a role in capital markets and price formation. The important ten-
                                      ant for the SEC is to ensure that the markets are free of fraud ma-
                                      nipulation, and so those participants in the market, whether they
                                      are on the buy side, or the long side, or on the short side, are doing
                                      so without defrauding and manipulating the markets and that
                                      there is the appropriate transparency.
                                         Mr. TIMMONS. Sure. Thank you. Mr. Cook, do you believe that
                                      Know Your Customer rules and current policies can continue to
                                      protect retail investors regardless of their broker-dealer?
                                         Mr. COOK. Could you repeat that question, sir? There was some
                                      interference.
                                         Mr. TIMMONS. Sure. Sorry. I said, do you believe that Know Your
                                      Customer rules and current policies can continue to protect retail
                                      investors regardless of their broker-dealer?
                                         Mr. COOK. Oh, thank you for that question, sir. I think it is im-
                                      portant to note that there are existing rules, along the lines that
                                      you described, that include Know Your Customer and for certain
                                      more complex products, like options, a requirement that additional
                                      information be acquired, and also that the firm make a determina-
                                      tion about whether the account would be appropriate. That said, I
                                      think as sort of the theme of the hearing and some of the conversa-
                                      tions around these events, technology has changed the world and
                                      some of those rules are quite old. And I think it is worth at least
                                      looking at whether they should be updated, but while taking into
                                      account the need to avoid unintended consequences or unduly lim-
                                      iting access to the markets.
                                         Mr. TIMMONS. Sure. I appreciate that answer, and I am going to
                                      finish how I started. Madam Chairwoman, we really need to get
                                      back to work in person. I am getting very tired of ring lights and
                                      cameras on the computer, so I hope we can get back to work soon.
                                      And with that, I yield back. Thank you, Madam Chairwoman.
                                         Chairwoman WATERS. The gentlewoman from Michigan, Ms.
                                      Tlaib, is now recognized for 5 minutes.
                                         Ms. TLAIB. Thank you, Madam Chairwoman. I appreciate it.
                                      Thank you for the panelists. I know that many of you know that
                                      high-frequency trading conducted by market makers, like Citadel
                                      Securities, drive market volatility, and working people pay the
                                      price through their 401(k) and pension funds. That is what I am
                                      most concerned about. Prior to 2008 and the financial crisis in
                                      2008, Citadel sought to leverage its status as a hedge fund to com-
                                      pete with U.S. investment banks. It didn’t work, but Citadel has
                                      since used this regulatory blind spot to establish themselves as a
                                      dominant market maker for retail investors.
                                         So, Chairman Gensler, as a hedge fund, is Citadel Securities su-
                                      pervised by the Federal Reserve?
                                         Mr. GENSLER. It’s good to see you again, by the way, Congress-
                                      woman, and I was just thinking that, are they supervised by the
                                      Federal Reserve, is a question for them. Citadel Securities is reg-
                                      istered at the SEC.
                                         Ms. TLAIB. Is this helpful? Are they designated as a systemically
                                      important financial institution by FSOC?




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                                         Mr. GENSLER. I do not believe that the Financial Stability Over-
                                      sight Council (FSOC) has made such a designation.
                                         Ms. TLAIB. Yes. According to its own website, Mr. Chairman,
                                      Citadel Securities says they execute about 40 percent of all U.S.
                                      listed retail value and reportedly handles almost as much trading
                                      volume as Nasdaq. As market makers, like Citadel, conduct these
                                      high-frequency trades, it is estimated that pension and retirement
                                      accounts already pay an annual $5 billion ‘‘tax,’’ which is extremely
                                      alarming. And even though 50 percent of American families don’t
                                      own stock at all, it is working people who pay the price when Wall
                                      Street gambles with our money.
                                         And so, Chairman Gensler, in your testimony today, you did ac-
                                      knowledge that, ‘‘Issues of concentration may increase potential
                                      system-wide risks should any single incumbent with significant
                                      size or market value fail.’’ Sorry if I misquoted you, but I think
                                      what I am more concerned about is, do you think Citadel, or a firm
                                      like it, currently poses systemic risk to our financial system?
                                         Mr. GENSLER. Yes. I do think that what we are seeing inside the
                                      financial markets is concentration growth. We see this outside of
                                      finance as well. We see it in search engines and online retailing.
                                         Ms. TLAIB. Do you not think this is an extreme version of that,
                                      when they are doing this much trading and they are not considered
                                      a systemic risk?
                                         Mr. GENSLER. I don’t know how to compare it to other parts of
                                      the economy, but we are seeing similar economics about the net-
                                      work effects that a firm gets with an increased advantage of data,
                                      then they are growing concentration. So, I have asked staff to real-
                                      ly take a look at this because there are issues not just of fragility
                                      or resiliency, which you have raised, but also, is this the most effi-
                                      cient capital market? Now, this is just in the retail space, but play-
                                      ers that are so concentrated in the space, and is the pricing in the
                                      market the best.
                                         Ms. TLAIB. Yes. And, what is concerning is, as you know, with
                                      Citadel’s own pricing and liquidity, they failed the pensions. There
                                      is going to be direct impact. But, Mr. Chairman, does the SEC have
                                      any contingencies in place in the event of a failure of a large mar-
                                      ket maker like Citadel right now if they fail?
                                         Mr. GENSLER. Part of that is also our oversight of the clearing-
                                      houses and ensuring that there is appropriate oversight of their
                                      counterparties, and this would be true of any large market player.
                                      But I would like to work with you and your staff a little bit more,
                                      because in my 3rd week, I haven’t yet sat down and sort of found
                                      out all those by rigorous oversight, of all the brokerage firms and
                                      the significant brokerage firms and clearinghouse.
                                         Ms. TLAIB. Yes. As a market maker, like Citadel, has grown larg-
                                      er and consolidated their market position, they have used their sta-
                                      tus as a hedge fund to evade regulatory scrutiny, and it is very
                                      clear. So, I hope that the SEC doesn’t turn a blind eye to this regu-
                                      latory loophole or the systemic risk that hedge funds like Citadel
                                      pose. And so, again, I really appreciate the chairwoman bringing
                                      this to light because we will not have a healthy, transparent mar-
                                      ket so long as retail orders are directed towards a shrinking hand-
                                      ful of wholesale traders. And it is really important. Thank you, and
                                      I yield back.




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                                         Chairwoman WATERS. Thank you. The gentleman from Texas,
                                      Mr. Taylor, is now recognized for 5 minutes.
                                         Mr. TAYLOR. Thank you, Madam Chairwoman. And I appreciate
                                      our witnesses being here. I think this is an important hearing. I
                                      am Van Taylor. I represent Texas. I am the junior-most Repub-
                                      lican, which means the end of the hearing is near, so you can cele-
                                      brate that.
                                         I wanted to, Mr. Gensler, just talk to you about something that
                                      happened in the previous Administration. President Trump signed
                                      an Executive Order prohibiting investors from trading in dozens of
                                      Chinese securities. However, those primarily U.S. investors invest-
                                      ing in ADRs are now unable to divest those Chinese securities, and
                                      so it is really unclear what the plan is for those U.S. investors to
                                      get out of those Chinese securities. I realize this didn’t happen on
                                      your watch, but I am wondering what the plan is. And some of
                                      those investors, there are some big ones and some small ones. I,
                                      of course, hear from the small ones. They are concerned about, hey,
                                      how am I going to get out of this? What is the SEC’s view on that?
                                         Mr. GENSLER. First, I congratulate you on your first term, and
                                      it is great to get to know you. This is a terrific committee. I have
                                      worked with this committee in three Administrations. There are
                                      many other great committees, too, though, but I would like to work
                                      with you and your staff to understand the issue better. I have to
                                      say I haven’t yet been briefed on what you are saying, for investors
                                      to basically sell out of investments that they are kind of locked in.
                                         Mr. TAYLOR. Right. The problem is that these investors got fro-
                                      zen into these investments, and as you said, and certainly it is
                                      something I heard in my time at Harvard Business School. I mean,
                                      hey, we have great capital markets in this country, and it is a
                                      major competitive advantage for our nation to have those great
                                      capital markets for the formation and allocation of capital. Chinese
                                      companies are taking advantage of that, and we said, okay, you are
                                      not going to take advantage of us anymore, but we ended up freez-
                                      ing investors into them, and so now investors have their capital
                                      stuck in investments, and I am trying to figure out how are we
                                      going to get them out? Again, we don’t want people to play in that
                                      market, but how are we going to get them out of it?
                                         Mr. GENSLER. One of the wonderful things for the public listen-
                                      ing as a representative democracy, is if a Member raises a question
                                      like this to somebody in the administrative state, like me, I will
                                      now go back and try to learn about this issue, and I look forward
                                      to chatting more about it with you.
                                         Mr. TAYLOR. I appreciate that. Thank you for letting me flag this
                                      one for you. Obviously, it is important for those people, and I think
                                      it also could perhaps create a roadmap for this kind of action in
                                      the future instead of just locking it up and then everybody going,
                                      okay, what now, that there is actually an exit ramp.
                                         Mr. Bodson, the DTCC released a White Paper, ‘‘Advancing To-
                                      gether: Leaving the Industry to Accelerate Settlement.’’ Obviously,
                                      the last iteration of this GameStop hearing focused a lot on acceler-
                                      ated settlement, T+1 versus T+2. I think you have done a good job
                                      of explaining some of the benefits of going from a T+1 to a T+2,
                                      and I think it would have certainly helped in this particular sce-
                                      nario that we are having this hearing under if you had had a T+1




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                                      instead of a T+2. But one of the things that I wanted to understand
                                      a little bit more from your point of view is, could you talk about
                                      distributed ledger technology, and what that would actually mean,
                                      and how it would work in this particular circumstance?
                                         Mr. BODSON. Thank you, Congressman, for the question. The
                                      move to T+1 really will be based upon existing technology, looking
                                      to see if we could apply DLT and other technologies to help solve
                                      the problem. As I said, speeding up the process lowers credit risk,
                                      but it increases operational risk, so there are a whole series of
                                      processes that have to be done before a trade is settled. The easy
                                      parts, in some ways, are the trading part and the settlement part,
                                      but they are somewhat just bilateral transactions. But in between,
                                      as an example, any institutional asset manager has to take the
                                      trade it has done throughout the day, aggregate that trade, break
                                      it up amongst all the funds, et cetera, et cetera. I don’t want to go
                                      into too much nuance. All of these steps could require communica-
                                      tion, reconciliation, passing of information. So, there are instances
                                      where something like DLT, where you do have that advantage of
                                      a golden source being distributed, where it could be very much ap-
                                      plicable. DLT smart contracts—
                                         Mr. TAYLOR. I am sorry to interrupt you, Mr. Bodson.
                                         Mr. BODSON. Sure.
                                         Mr. TAYLOR. I just need to ask one quick question. Do you need
                                      any statutory authority to go from T+2 to T+1? Do you need us to
                                      pass a law, or do you have the authority you need?
                                         Mr. BODSON. No. Thank you, Congressman. If I do, I will defi-
                                      nitely reach out to the committee, but at this point, the industry
                                      is coalescing around the move to T+1. As you heard from Chairman
                                      Gensler and Mr. Cook, we are all moving in the right direction, so
                                      I think at this point, the industry itself will get there.
                                         Mr. TAYLOR. Okay. Thank you. I yield back.
                                         Chairwoman WATERS. Thank you very much. The gentleman
                                      from Massachusetts, Mr. Auchincloss, is now recognized for 5 min-
                                      utes.
                                         Mr. AUCHINCLOSS. Thank you to our witnesses for their patience
                                      and persistence in this hearing, and to the chairwoman for orga-
                                      nizing this. In the first of these hearings, I focused on the tension
                                      between using technology to democratize access to assets and to
                                      wealth-building opportunities, and I believe that is critical and po-
                                      tentially a way for us to narrow the wealth gap in this country,
                                      but, on the other hand, the increasing gamification of finance for
                                      non-accredited investors or investors who don’t have the where-
                                      withal or the sophistication to be making the kind of bets that they
                                      are making.
                                         And I think, in particular, where the rubber hits the road on this
                                      tension is with options and with the gamification of options, which
                                      are a very fast way to make money, but a very fast way to lose
                                      money as well, and that they have binary outcomes and a very nar-
                                      row time window.
                                         I would appreciate hearing from, first, Mr. Cook, and then, Mr.
                                      Gensler, on where FINRA and the SEC feels like they draw the
                                      line between creating a good user experience, which obviously is in
                                      the best interest of any business, without inappropriately inducing
                                      behavior that actually is not in the fiduciary interest of the user.




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                                         Mr. COOK. Thank you for that question, sir. I think you touch on
                                      the issue and characterize it exactly. There is a tension. There is
                                      a balance here and we need to try to strike the right balance. With
                                      respect to options, we have issued guidance recently reminding
                                      firms of their obligations here, but I appreciate your raising options
                                      because I think there is a way in which all these issues kind of
                                      come together—options, payment for order flow, gamification—be-
                                      cause options tend to provide greater payment for order flow.
                                         And so, one of the things we often think about with conflicts in
                                      payment for order flow is, which firm do I wrap my orders to,
                                      right? But there is a second level of conflict that options is one ex-
                                      ample of—I think there are others—where there is a question
                                      about which product and which orders do I want to route because
                                      some may give me more payment than others. And combined with
                                      the gamification, I think it becomes a package that we really need
                                      to look at all pieces of this together.
                                         So, I really appreciate Chair Gensler’s leadership on this, and
                                      talking about getting his staff to think through all these issues,
                                      and we welcome the opportunity to engage with them.
                                         Mr. AUCHINCLOSS. Because, Mr. Cook, the spread is wider on op-
                                      tions, and so they are more attractive for the payment for order
                                      flow?
                                         Mr. COOK. Yes, the amounts of payment for order flow in the op-
                                      tions world, which tend to come from exchanges, not from the
                                      wholesalers, is generally higher, yes.
                                         Mr. AUCHINCLOSS. Thank you. Mr. Gensler?
                                         Mr. GENSLER. I think that, as Mr. Cook said, it is taking some-
                                      what of a holistic approach in a variety of places, but options raised
                                      a couple of other issues. There is more risk because of the inherent,
                                      what is called leverage. I can say I want to make an investment,
                                      that something is going to go up or down, but I could lose all my
                                      money very easily in an option.
                                         Mr. AUCHINCLOSS. No, I know what options are, and what lever-
                                      age is. My question, Mr. Gensler, is, do you think the SEC stand-
                                      ards for de-marketing where gamification, and a good user experi-
                                      ence, and a fiduciary responsibility begin are clear enough and
                                      being followed in the industry?
                                         Mr. GENSLER. I think that we need to look very seriously at
                                      freshening up our rules because behavioral prompts, the
                                      gamification, is inspiring people to trade more. And economic re-
                                      search shows that more trading doesn’t necessarily lead to better
                                      results, particularly in the field of options. I was just mentioning
                                      the leverage because it is potentially more pernicious than options.
                                         Mr. AUCHINCLOSS. Absolutely, Chairman Gensler, and I appre-
                                      ciate that, and what I would encourage you and your staff to focus
                                      on is the reality that this trend of gamification is actually going to
                                      accelerate. It is a common maxim, for example, in the consumer
                                      technology industry that the frontier of tight feedback loops in user
                                      experience are actually in video games. Video games have always
                                      been on the leading edge of how to create captivating online experi-
                                      ences. And the time between when video games put something out
                                      there that works, and when other kinds of consumer technology
                                      adopt it, like brokers, is getting shorter and shorter and shorter.




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                                         Mr. GENSLER. And if I could add, it is also the use of predictive
                                      data analytics, or what is called deep learning and machine learn-
                                      ing, which was part of my research at MIT. You combine that and
                                      then differentiate how you would market it to you differently than
                                      the chairwoman, and you would find a way to get the chairwoman
                                      to trade one way and you to trade another way. I am not saying
                                      that either of you are doing this, but I am just saying that is the
                                      sophistication of what is happening now.
                                         Mr. AUCHINCLOSS. It is an excellent point, sir, and I do hope that
                                      you will tell this committee if you feel like you need more statutory
                                      authority or more funding to fully draw that line and enforce it be-
                                      cause it is critically important.
                                         Mr. GENSLER. Thank you.
                                         Chairwoman WATERS. Thank you very much. Before we close the
                                      hearing, I would like to just share information in relationship to a
                                      question we have been getting about a financial transaction tax
                                      (FTT). That was not a part of any proposal in this committee hear-
                                      ing, and we don’t have jurisdiction over that anyway. So for those
                                      people who have been contacting us about an FTT, that was not
                                      a part of this hearing.
                                         And with that, I would like to thank our distinguished witnesses
                                      for their testimony today.
                                         The Chair notes that some Members may have additional ques-
                                      tions for these witnesses, which they may wish to submit in writ-
                                      ing. Without objection, the hearing record will remain open for 5
                                      legislative days for Members to submit written questions to these
                                      witnesses and to place their responses in the record. Also, without
                                      objection, Members will have 5 legislative days to submit extra-
                                      neous materials to the Chair for inclusion in the record.
                                         Again, I certainly would like to thank all of our witnesses today,
                                      and this hearing is now adjourned. Thank you very much.
                                         Mr. GENSLER. Thank you, Madam Chairwoman.
                                         Chairwoman WATERS. You are welcome.
                                         [Whereupon, at 4:02 p.m., the hearing was adjourned.]




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                                                                       APPENDIX




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